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 1                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 2

 3

 4   - - - - - - - - - - - - - - - - - )

 5   UNITED STATES OF AMERICA                *

 6         vs.                               * CASE NO. 2021-R-00180
                                                        21-cr-6
 7   DOUGLAS AUSTIN JENSEN                   *

 8   - - - - - - - - - - - - - - - - - )

 9                             File: Jensen.mp4

10

11

12                               Interview of:

13                          DOUGLAS AUSTIN JENSEN

14

15                         Friday, January 8, 2021

16

17

18

19

20   APPEARANCES:

21         FBI AGENT TYLER JOHNSON
           FBI AGENT SCOTT JAMES
22

23

24

25

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 1                           P R O C E E D I N G S

 2         UNIDENTIFIED SPEAKER:      Have a seat on your left.      I've

 3   give you a bottle of water, and if you need something else,

 4   just let me know, okay?

 5         MR. JENNER:     Okay.

 6         UNIDENTIFIED SPEAKER:      It's going to be just a few

 7   minutes until the investigator show up.         They're coming from

 8   Westmoreland or something, so if you need something in the

 9   meantime, knock on the door.

10         MR. JENNER:     Why Westmoreland?

11         UNIDENTIFIED SPEAKER:      That's just where their office

12   is.

13         MR. JENNER:     Thanks.

14                                 EXAMINATION

15               BY SA JOHNSON:

16         Q.    Good morning.

17         A.    Morning.

18         Q.    Doug?

19         A.    Yes.

20         Q.    Doug, my name's Tyler Johnson (ph.).         I'm an agent

21   with the FBI.      How are you doing today?

22         A.    Good.

23         Q.    Good.

24               MR. JAMES:    Hey, I'm Scott James (ph.).       Good to

25   meet you.

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 1                BY SA JOHNSON:

 2         Q.     Appreciate you coming in.           We have a couple of

 3   things we want to run by you, a couple questions.

 4   Definitely, you know, first and foremost we want you to

 5   understand it's a voluntary interview, okay?              We just --

 6   again, we appreciate you coming in.              It definitely seems to

 7   us, you know, that you want to come talk with somebody from

 8   law enforcement, so we're excited to hear what you have to

 9   say, okay?    We are recording the interview just to make you

10   aware, all right?          So before I kind of get going, I just

11   want to get just some information about you so do you want

12   to go ahead and first off legal name for me?

13         A.     Douglas Austin Jensen, J-e-n-s-e-n.

14         Q.     A-u-s-t-i-n for Austin?

15         A.     Yeah.

16         Q.     And then J-e-n --

17         A.     S-e-n.

18         Q.     Okay.    And a good date of birth, please?

19         A.             .

20         Q.             .     Social?

21         A.                     .

22         Q.       --

23         A.        .

24         Q.        .     All right.      The

25         A.     My A number is                  .        .

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 1          Q.           .   And a good address for you?

 2          A.                    --

 3          Q.          ?

 4          A.          -- I'm sorry,            --

 5          Q.       .

 6          A.     --                  .

 7          Q.                    here in (indiscernible)?

 8          A.     Yeah.

 9          Q.     Okay.     And a cell phone or a good contact number?

10          A.                    .

11          Q.           .   Awesome.

12                 BY SA JAMES:

13          Q.     What do you do for a living?

14          A.     Construction.

15          Q.     Oh, yeah?     You've been at that for a while, have

16   you?

17          A.     It's my 20th year.

18          Q.     20 years.

19          A.     21.

20          Q.     My goodness.

21          A.     (Indiscernible) my job and family, you know, for

22   something I believed in.              I still do.   I actually believe

23   that Trump still going to be our president come 19 -- 20,

24   and I went to Mount Rushmore for the 4th of July.              All

25   right.      I consider myself a digital soldier.          I follow -- I

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 1   was going to vote for Hillary Clinton.          I thought she was

 2   going to be the first female president until the Wiki were

 3   up, and where I sat and looked at that stuff, I went through

 4   all kinds of stuff and I was like, oh, my God, and then

 5   along comes Q -- and you guys know what Q is?

 6         Q.    You know, I'm actually -- I'm not as read up on

 7   that kind of thing as maybe Tyler is because -- can you tell

 8   me about it?    Because, you know, I mean I've heard it

 9   mentioned, but I'm --

10         A.    It's a group of people that are in the White House

11   possibly or with close connections to Trump and it's a -- I

12   want to say it's an intelligence being dropped to the

13   public, and so I've been following that religiously since

14   the day it came out.       I have seriously followed that daily,

15   and everything that has happened to -- in real life has been

16   like I watched a movie.        Everything that's happening now, I

17   know it all because it's all old news to me, and it's all

18   just now coming out and I was pushing for the Insurrection

19   Act, and I was hoping that by doing that and, you know, the

20   reason I made sure I was at the front was because I wanted

21   that Q to be on TV.       I wanted Q to get the attention.

22         Q.    I see.

23         A.    And that was my main intention basically --

24         Q.    Um-hum.

25         A.    -- was to use my shirt.       I basically intended on

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 1   being the poster boy, and it really worked out.

 2         Q.    I was going to say, yeah, I mean, that box chat.

 3   I mean, you did what you set out to do.

 4         A.    That's what I wanted to do, and I was trying to

 5   give all attention to Q, I was trying to fire up this

 6   nation.

 7         Q.    Yeah.

 8         A.    I'm all about a revolution basically.

 9         Q.    So when you say that you followed Q religiously,

10   like how does one do that?       I mean --

11         A.    I pulled it from -- when I learned back in 2017

12   about the Q drops, I -- the first one, I don't know, I

13   was -- it was on my drop 100 by the time I found out what it

14   was, but I real quick caught up and I stayed on it daily,

15   every day for the last two years and checked any Q drops.

16         Q.    Oh, I see.

17         A.    And Q would tag people here and there, like on

18   Twitter or here, and I saved everything.          I followed every

19   person and I continued to look at everyone.          Those people's

20   tweets every day.     When Trump tweets, it bleeps my phone.

21   You don't know how many tweets I -- you know, how many

22   alerts I've gotten because of that man.

23         Q.    Yeah.

24         A.    And I read every one of them.

25         Q.    So is all of this on Twitter or is it also on

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 1   other platforms as well?

 2         A.    Well, it started off on Twitter -- no, it started

 3   off with q.pub, and then q.pub got shut down, and now I have

 4   another one, it's like qalert.something.          I can't -- I don't

 5   have my phone, but he hasn't dropped now for like 30 days.

 6   What I believe is about to happen, what I believed honestly

 7   with my heart, is the first arrest is going to shock the

 8   world, and I believe it's going to be Mike Pence, you know,

 9   the vice president.      He's going to be the first.       That's in

10   my opinion.

11               Also, Q said -- Q has said things, okay, so

12   like -- and anonymous, okay.       I follow that, Mayjan (ph.)

13   and all that stuff, you know, because basically I was not

14   into politics until the Wiki leaks dropped, and then when I

15   realized about Haiti, and the Clinton Foundation, and the

16   kidnappings all through the Clinton Foundation, and then I

17   learned about Epstein Island and then I learned Mike Pence

18   owns an island, right -- or not Mike Pence, Joe Biden owns

19   an island next door, and then I find that Hunter Biden and

20   Bris Moldings (ph.) and all that, I knew about that a year

21   or two ago.

22               And I tweeted -- and then, you know, what pissed

23   me off, too, is, you know, I'm on Facebook a lot, trying to

24   post stuff pro-Trump, pro-Q, pushing that, just because I've

25   got 500 people, and if I can just get -- I just wanted to

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 1   get Trump to win a (indiscernible) is all I tried to do

 2   basically.    So I figured by putting this information, I've

 3   lost friends, I've lost family, I have -- I, you know, all

 4   over this, and they think I'm insane, and I don't believe I

 5   am.   I believe everything, you know, 100 percent, and it

 6   wasn't until Q started saying things like Saint Tippy Toppy

 7   (ph.), and then the next thing you know Trump's giving a

 8   speech and he throws the word Tippy Toppy out there, and I'm

 9   like, oh, my God, you know, and little things like the storm

10   is here, you know.      Q always told us that when he says my

11   fellow Americans the storm is here, that's when we're

12   supposed to go.      That's when we're supposed to do anything.

13   Well, he started off that speech a couple weeks ago with my

14   fellow Americans.       That's all he had to do.

15         Q.     Yeah.

16         A.     And then January 1 to January 2, the storm,

17   executive order, storm -- do you know what that is?

18         Q.     I don't.

19         A.     You guys work for the FBI?

20         Q.     You know, I --

21         A.     What do you do?    Look it up on your phone.

22         Q.     Yeah.

23         A.     Seriously.

24         Q.     Yeah.

25         A.     Look up the storm.    It just went into effect

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 1   January 1 and January 2.

 2           Q.   What are we going to find?

 3           A.   It's basically what it's talking about is how

 4   Trump now has the power to use the emergency broadcast

 5   system to speak to the people because he's being blacked out

 6   and I think we're right now at the start of our 10 days in

 7   darkness, you know.        I -- oh, man, but 10 days from now

 8   because -- well, 10 days from maybe when he was on Twitter

 9   and Facebook and all that.         Our president was --

10           Q.   Um-hum.

11           A.   -- well, you just -- I guess you've got to follow

12   Q.

13           Q.   Okay.

14           A.   You know, otherwise I sound like a total cuck,

15   so --

16           Q.   So you said earlier that you think Mike Pence is

17   going to be arrested.        I'm wondering like by who and for

18   what?

19           A.   Have you ever seen the video of George Bush,

20   Senior's funeral?

21           Q.   Boy, if I have, it's been a while.

22           A.   Yeah --

23                BY SA JOHNSON:

24           Q.   What's in that video?

25           A.   Only a few certain people open up their folders,

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 1   you know, at that funeral.

 2         Q.    Okay.

 3         A.    They were all there, the Clintons, the Obama and

 4   all of them are there, the Bushes, Jeb Bush.           I mean, you

 5   saw Jeb Bush holding his heart, and then the secret service

 6   guy handed a piece of paper to the wife of George Bush -- I

 7   can't remember her name, and --

 8               BY MR. SCOTT:

 9         Q.    Barbara?

10         A.    Barbara, yes -- no, no -- yeah -- no, no,

11   Barbara's the senior.

12         Q.    HW's, yeah.     Oh, you're talking about W's wife.

13         A.    Man, I don't even know who she is now.          I think

14   she's -- because -- yeah, I guess.         I think it was George

15   Bush's wife, but -- or mom or something, but they hand her a

16   letter, okay, right in the middle of this interview and

17   George Bush, Senior had a wrinkled flag on his casket, and

18   that should have never happened, you know.           That was one

19   thing, and then before the funeral, said watch for the

20   letters, watch for the letters at the funeral, you know, and

21   the next thing you know, this secret service guy hands the

22   Bush mom I want to say, and HW standing there, and Jeb is

23   right here, and they hand her this, and she looks at it, and

24   she goes, and she shows Jeb, and this is right as their own

25   father's going by, and he pulls his hand down from his

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 1   heart, he's got this look of just fear of God in his face,

 2   and then during that same, you know -- so Q already told me

 3   to watch for these letters, and then that all happens.

 4   Every time Q always says something, it always happens.

 5   Every time Q said anything, it always came true.

 6           Q.   Okay.

 7           A.   And it's the -- you know, so I'm a full believer

 8   that somebody's out there trying to give the real

 9   information to the public basically, you know, and so I used

10   to believe the news and believe everything it said, you

11   know.    I heard it on TV, it's true, you know, and over the

12   last four years I've learned that the corporations, there's

13   only like five different like Disney owns ABC.           There's only

14   like five or six different corporations or people that own

15   pretty much all of TV and news and all that, and so we're

16   getting -- we're obviously getting one sided news, and it's

17   called coming from China maybe.        Maybe China owns Disney.         I

18   don't know, but basically China's pretty much blackmailed

19   according to, you know, what I've researched, like with

20   Justice John Roberts, whatever his name is, there's a video

21   that's going to come out here real soon that he rapes a kid

22   and then murders that kid, all right.          I don't know.     Are

23   you guys playing with me that you --

24           Q.   Is that something Q said or --

25           A.   I don't even know where I got that because, you

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 1   know, Q only says certain things, and then Q tells you to

 2   watch out for this info.

 3           Q.   Right.

 4           A.   Well, then Q also posted, hey, this person said

 5   this, so I followed that person, so I continued every person

 6   he ever -- I've got the full list, and I've -- I check every

 7   one of those Twitters daily, you know, like I'm not saying

 8   JFK, Jr.'s alive, but I sure would love that to be true, you

 9   know.    But I don't know, it's just coincidental that he was

10   safe until he decided to run against Hillary in New York in

11   2000.    He comes out with a magazine and he publishes it and

12   it's the battle for 2020 or something right on the cover,

13   and he named the magazine George, okay.

14           Q.   Cindy Crawford was that magazine if I remember.

15   You know the one I'm talking about?

16           A.   Was she?     I don't know if she was on it, but --

17           Q.   Yeah.

18           A.   -- I'm sure she was.

19           Q.   Um-hum.

20           A.   But -- so then at the Trump rallies, there was a

21   guy, his name was -- oh, I can't think of the guy's name,

22   but he looks really like Junior and everybody thought he was

23   Junior, and so that's what started the whole Junior craze,

24   and then I started digging more, and then I find out that

25   the Q has a -- Michael Jackson's Neverland -- anyway, I

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 1   don't know.     He's got at the Neverland Ranch he has a circle

 2   with children sitting in it, and their legs hang off, and it

 3   makes the Q, and so I don't know, maybe he faked his death,

 4   maybe all these people faked their death to go against the

 5   corrupt people.      It's kind of what I'm hoping happens.

 6         Q.    So what did Q say about what happened at the

 7   Capital the other day?

 8         A.    Q didn't say anything but make sure you go.

 9         Q.    Okay.

10         A.    And --

11         Q.    When did he say that?      Was that --

12         A.    Well, he didn't say it.       When you go to the app,

13   well, Trump said -- the reason I went was because Trump said

14   he had info for us at this rally, and I honestly thought I

15   was going there to be told -- I thought it was show time,

16   and --

17         Q.    And when you say show time, you mean?

18         A.    I thought all these arrests were going to start

19   happening like I've been hoping, I guess, and nothing.

20   Well, I went to the Trump rally with the hopes of finding

21   out some information because he said he has some great

22   information for us.

23         Q.    How'd you find out about the rally?

24         A.    Well, I found out from the rally from all the

25   different people I follow.

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 1         Q.    I see.

 2         A.    Which -- so like -- I'm not saying it's JFK, Jr.,

 3   but one of the people I follow on Twitter, his name's

 4   John F. Kennedy, Jr., and then Linwood.          Linwood's new.

 5   Like everything Linwood has dropped in the last couple weeks

 6   is old news, like that's all old new to me, and so Linwood

 7   got me fired up, Sidney Powell got me fired up.           Rudy

 8   Giuliani got me fired up, you know, and then I go to this

 9   Trump rally and I was just hoping it was show time

10   basically, and then he gets done with this rally and I'm

11   just kind of like -- he's like, oh, let's all go march down

12   peacefully, you know.       He didn't tell us to go storm the

13   building, okay.

14               But when we started walking, there were people

15   that were standing on the sides that were like -- I was -- I

16   made sure I was pretty close to the front of that crowd, and

17   these people that were standing on the sidewalks, we weren't

18   even there yet and they were going.         The gate's down, go

19   through, go through, and they were like waving us, and then

20   when I got to the gate with them, they laid it down and

21   walked around, the cops did pretty much.          And so they -- in

22   my opinion let us storm the yard, and then I climbed this

23   wall to get up to the stairway, you know.            I was with

24   everybody else, Your Honor.

25         Q.    Right.

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 1         A.     And I got up to this one building.        This guy

 2   pulled his backpack out and he had a -- weapons, you know,

 3   and he started bashing the window in, and, oh, man, I didn't

 4   know what was going on at this point.          I thought this is us,

 5   this is it, this is, you know, Trump, you know, the

 6   patriots, the people that stand for this country, you know.

 7   I thought we were going to change the world, I don't know.

 8   I don't know what I thought.

 9         Q.     So let me ask, before you saw that backpack, did

10   you have any indication that there were weapons involved

11   with --

12         A.     No.   Like I was actually kind of shocked at first,

13   but then it was all happening so fast, you know, and then

14   next thing you know I'm going through that door and along

15   with the whole crowd behind me because --

16         Q.     Yeah.

17         A.     -- I pushed -- because I wanted to be the first

18   one in that door, you know, with my Q shirt --

19         Q.     That's it.

20         A.     -- okay, and there's a black guy, and he's

21   standing there, okay.       And I got this weird feeling that --

22   okay, so I had lots of people I was driving home.            I shut my

23   phone off.     I deleted all my Twitters, my Facebooks because

24   I'm paranoid thinking Mark Zuckerberg and his henchmen or

25   somebody's going to try to locate me through one of these

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 1   apps, so deleted ever freaking app on my phone and shut my

 2   phone off, you know, because I was afraid of being killed on

 3   the way home being a poster child.         I feared for my family,

 4   you know.    There are lots of people that are completely

 5   brainwashed by the media.

 6               Like I saw the -- they're making me out to be

 7   this -- well, they're making the Trump, you know, they're

 8   making the whole rally out to be a -- what about Black Lives

 9   Matter burning these cities down, and they don't get

10   nothing.    We go in, we try to, you know, we can't have a

11   president for four years.       He won.    Why can't we just have

12   him as the president for four years?         Like, you know, I

13   don't understand why that was so hard, you know.            They tried

14   to destroy him from the beginning, and that's what this

15   whole thing got me hooked, you know, the whole thing.            It

16   all started with all the crap I found out about Hillary

17   Clinton, John Podesta, you know, all of that stuff, and then

18   so right before I was going to vote for Hillary, I was like,

19   whoa, we've got to vote Trump in because we can't have

20   Hillary.    And then I start finding things like we were

21   supposed to be dead by now, and if Hillary would have won,

22   we were going to be attacked by North Korea or Iran.             We

23   were going to go to war, and we would most likely -- half of

24   us wouldn't be here right now if Trump wouldn’t have won

25   that election is what I got from it.

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 1         Q.    So it sounds to be like, I mean, you're a guy that

 2   really cares a lot about this country, about what happens,

 3   and I'm usually in the --

 4         A.    Yeah.

 5         Q.    -- I mean, this is obviously -- looks like it

 6   means as much to you as it means to guys like us.

 7         A.    Correct.

 8         Q.    But it's -- that's why I'm so glad that you're

 9   here because, you know, it'd be very easy for us, and lazy

10   for us to just sit back and be like, oh, yeah, hey, listen,

11   the media's saying this about him, and that about him, but,

12   I mean, that's why we're glad we can get it from the horse's

13   mouth.

14         A.    Okay.   Well, what I want to hear from you guys is

15   if you guys are the FBI, why haven't you guys looked into

16   this stuff?     Why haven't you guys made a move, you know?       If

17   I'm just this jusmo (ph.) that lives in a little area of Des

18   Moine, how come I know so much?         You know, I don't

19   understand.     It just makes no sense how all this stuff that

20   I know, and I try to share on Facebook and people are like,

21   oh, dude, I don't even see your Facebook.             I have to

22   literally go to your page, and it's like, really, you know,

23   and I always try to put the -- I have done nothing but

24   research for two years straight.

25         Q.    Um-hum.

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 1         A.    I come home, I work -- I get up.         I work eight

 2   hours a day, I come home and just sit on my phone

 3   researching daily.

 4         Q.    Yeah.

 5         A.    I was -- I don't even watch TV.          I don't even -- I

 6   just sit and stare at my phone.        I check on Juan Q Saving

 7   (ph.), or whatever.      I don't know if you know who that is,

 8   and I check on JFK, Jr., if it's actually him or not, and

 9   that other guy that -- I can't think of his name, but he

10   looks like him, and everybody thought it was him, and he was

11   at his Trump rallies, and then he had this woman that looked

12   like Jackie, you know, standing, so I don't know, man.           I

13   truly started believing that, you know -- I still do,

14   actually.    I'm not saying the FJK part because that's

15   probably a little out there --

16         Q.    Right.

17         A.    -- but that's more of a hope, I guess.

18         Q.    Yeah.    So, I mean, I know you said that people

19   think that you're crazy, but I'm wondering have you ever

20   been evaluated for that kind of thing or --

21         A.    No, not really.

22         Q.    I only ask because I mean obviously everybody that

23   we talk to, we have to address that issue just because I

24   mean obviously being able to assess the veracity and the

25   truthfulness of what you're telling us important, so I

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 1   appreciate you being honest with me on that because I

 2   believe you are being honest with me on that.

 3         A.    Oh, I didn't think --

 4         Q.    Yeah    So, I mean, I think from the time you first

 5   heard about the -- that there was going to be a rally, I

 6   mean, like was that just a few days, or was it weeks, or, I

 7   mean --

 8         A.    Trump's posts.     Trump posted make sure you're

 9   there, January 6 for the rally in Washington, D.C., I'll

10   have some great info, and so that to me was, oh, here it

11   comes, because -- and then, you know, all he said, well,

12   where's Hillary?      Well, where?    I already know that.       Q said

13   where's Hillary four months ago, you know, so I was kind of

14   like that's all you got, where's Hillary?            You know, he --

15   and then he got us all fired up to go to that White House,

16   and then it just all happened so quick and I just wanted to

17   make sure that I wanted to be in the front.           Basically I

18   wanted to get that Q shirt the attention --

19         Q.    Right.

20         A.    -- is what my goal was.

21         Q.    Yeah, and the thing is is it's like so now because

22   you were in the front, because everybody saw your shirt,

23   they're like trying to hold you responsible --

24         A.    Okay.

25         Q.    -- for --

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 1         A.     So the black guy.     Do you guys -- have you seen

 2   any of these videos?

 3         Q.     There's so much video footage.

 4         A.     Yeah.   Okay.    All right.   So the black guy, okay,

 5   we're going to start with the guy at the very beginning when

 6   I went in the west area, okay, and I come through that door,

 7   and that one -- I hate saying black, the black officer, he

 8   was standing there, and he was just like give me a push.

 9   I'm like no, no, don't push me, you know, like -- because

10   I'm not being forceful.       In fact, I got a lot of shoulder

11   bumps.     That black guy took a knee and bashed his little

12   baton thing closed, and I told him to get off his knee,

13   don't take a knee for me, you know, because I'm not Black

14   Lives Matter.     Don't take a knee for me, you know, and I got

15   a lot of fist bumps, I got a lot of, you know, dude, you're

16   all right.

17                Well, can I please see a picture of the capital

18   police chief, though?        Because there was an old man that

19   came up and got right in my face, and we were just looking

20   dead in, and I felt that because he was an old man and he's

21   fighting for his life against this crowd, and I said, God

22   bless you, sir, and the next thing I know, they're whisking

23   me out.    They got me out.     They had -- all right, well,

24   there's two different parts, okay, because I came in the

25   one, and they -- and -- it's all on video anyway, you know,

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 1   so -- all right, so --

 2           Q.   But you perception matters, right, and the context

 3   matters.     Like we can't get your state of mind from the

 4   video.

 5           A.   Right.

 6           Q.   Right, so that's really -- I mean, that's

 7   important to us, and we're interested in hearing it.

 8           A.   Right, but I'm also afraid of criminal --

 9   incriminating myself, you know.         I mean, there's so much

10   evidence, I'm, you know, but then I got all these messages,

11   my phone just beep, beep, beep, beep, beep, I don't know.

12   Everybody found my Facebook, you know, so at that point --

13   and I didn't go to Twitter and be like, hey, I'm the guy.          I

14   went to Juan Q Saving and posted a picture of me and I put

15   help.

16                I went to Doug Cutler and I was like help, and,

17   you know, so that's where people say I identified myself

18   when I was actually reaching out to those certain like -- I

19   messaged the JFK, Jr. guy I follow on Twitter.           I

20   couldn’t -- I would have messaged Trump, but couldn’t get a

21   hold of him, you know.       They pulled all of his stuff off,

22   and Linwood, I couldn’t get a hold of that guy, and then all

23   I know is my messages were just going ding, ding, ding,

24   ding, ding, and so I'm trying to drive, so I'm not, you

25   know -- all I'm getting is what is showing on my phone

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 1   without opening it.       It kind of gives you like a one

 2   sentence, you know, type thing, and I got lots of keep your

 3   mouth shut, don't talk, you know, all that stuff, but

 4   basically I went in that door, the first door and the black

 5   guy and all.     I'm just like, dude, no, you know, don't hit

 6   me, and then he kind of did this thing.          He stepped back and

 7   he picked up his baton, and he come at me like he was going

 8   to hit me, and I said I'll take it, you know, and then it

 9   turned around and ran from me, right?          So there's certain

10   things that you see, but then they cut them out, okay?           So

11   when you see me run up the -- do you notice how it cut right

12   when I got to the top of those stairs?          You notice how it

13   cut this way.     This way.     Okay.   They started guiding me.       I

14   don't know where I was doing.

15         Q.     Right.

16         A.     So you don't write that down because, see, now --

17   but I don't want to -- but I also said, you know, go in

18   there, arrest those guys, breathe on them, you know, all

19   that stuff, and then I said we want to -- we wouldn't got in

20   here if you didn't let us in.         You wanted us in here.     You

21   don't know how many smiles I seen right then on all those

22   faces.     They were like, you know, and -- can I see a picture

23   of that guy that resigned because there was an old man that

24   came up to me, and that I, you know, looked --

25         Q.     Yeah.

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 1         A.    -- he deadlocked my eyes, and I just looked at him

 2   and I didn't know who he was.        From my point of view, I

 3   thought he was just an old man and I felt bad for him.

 4         Q.    Yes.

 5         A.    And then I said, you know, God bless you, sir.

 6         Q.    Well, I'll tell you when we take a break --

 7         A.    Yeah.

 8         Q.    -- I'll have one of the guys get on that to see if

 9   we can't get an image or two for you.

10         A.    I just want to see what he looked like to see if

11   it was the guy that I was looking at.

12         Q.    Sure.

13         A.    Because all of a sudden they were all nice to me

14   after that.     I didn't know if it had to do with that old man

15   or not.

16         Q.    How'd you get out there?

17         A.    I drove.

18         Q.    Yeah.

19         A.    So -- okay, so here's how much sleep I've had.

20         Q.    Okay.

21         A.    First of all I pleaded with my employer to have

22   those days off because I'm the operator and I'm pretty

23   much -- I run the crew.       I'm not the foreman, but I'm the

24   guy that does everything.       I'm the guy that, you know, tells

25   everybody what to do, and this guy just gets to sit and

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 1   write on a piece of paper at the end of the day and he gets

 2   all the credit for it, you know, and, anyways, so I called

 3   my employer and so I was like, look, I really want to go to

 4   this Trump rally, you know, and you go out there, you're

 5   going to have a 14 day quarantine, and, you know, all this

 6   crap and I'm like, dude, I'll wear a mask, you know.             I was

 7   not going to wear a mask, but, anyway, so I was like, look,

 8   I'm going out there.      This is very important to me.          This

 9   was on -- so Wednesday was the day I needed to be out there,

10   okay?    Okay.   I woke up and went to work on Tuesday, and

11   because he needed to talk to Dick Trues (ph.), who's the

12   owner of the company I work for, and so he'll call me on my

13   lunch break on Tuesday to let me know what he decided, and

14   that's when they're like, well, so I'm like -- so I'm going

15   to be off 14 days, fine.       I'm going, you know, and so I was

16   like will you at least allow me to collect unemployment, and

17   he's like, yeah, I'll let you collect unemployment, and I'm

18   like, all right, thanks.       And I went, so I woke up 6:00 in

19   the morning on Tuesday to be to

20   St. Luke Catholic School.       They were building an addition on

21   (indiscernible).      I went out there and started that day,

22   worked that whole day until 4:00, rushed home, took a shower

23   and got my Q stuff on, and hopped in my car, and I went.

24   And I took a friend with me who's been a close friend of

25   mine my, you know, entire life, and, well, he's not really

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 1   into politics, and he thinks I'm a cuck, you know, and by

 2   the end of that Trump rally, it was like, oh, my God, like

 3   this shit's real, ain't it, Doug, and I'm like, yeah.              Just

 4   wait until we get to the, you know, the capital because I

 5   was expecting arrests.       I don't know what I was expecting.

 6   I was hoping that the military that had been called to D.C.

 7   was to do this big mass arrest, you know, and then he was

 8   walking with me and he's like, I don't want to go.               I'm kind

 9   of scared.     He's like can I just go back to the room?           And

10   I'm like, sure.     So he ditched me.      He was like I came here

11   for -- to be your friend, but I'm not going to that capital,

12   you guys.

13         Q.     It was more than he signed up for.

14         A.     Yeah, you know, which whatever.         He went to the

15   motel room, and left me by myself, and then I go in the west

16   section first, and then I went up top, and I felt like I was

17   being led kind of.      There's lots of footage that you're not

18   being shown that would prove what I'm saying, but --

19         Q.     And what is -- why do you think it's not being

20   shown?

21         A.     Well, when the guy ran from me and I chased him up

22   the stairs, and then he went up more, and then he pulled his

23   baton out at the top of those stairs, and I was like hit me,

24   I'll take it.     I'll take it for this country, you know, and

25   then he kind of did this thing like this, and took off

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 1   running again, and that's when I chased up to the next

 2   section, and then that's when I got in this room where

 3   they're all in there, right.        There's all kinds of capital

 4   police and military, you know, and I went in there, and I'm

 5   like why are you defending these mo-fos, you know, like, go

 6   and arrest them.      They're all like, look, we have orders.

 7   We have wives and children, and we can't -- we have orders,

 8   you know.

 9         Q.    Yeah.

10         A.    And I'm like you're the ones with the power.            You

11   guys got the weapons, you know, let's do this, you know, and

12   they all -- they liked me and I showed respect.           I never

13   pushed, touched any cop.       And I was never aggressive, even

14   towards the -- it sure looked like that on that video.           I'm

15   kind of a scary looking person, but really I wasn't, you

16   know, as aggressive as that looks.

17         Q.    So when did you find out that shots had been

18   fired?

19         A.    When I went in the other door on the -- was in --

20   I was within 50 -- I yelled at that cop, too, that kid.             He

21   was -- was like I thought we were -- because there's a

22   letter, I have a copy of a letter from somebody, it was

23   regarding the military that was going to be there, and it

24   said something about nobody's going to have weapons, no

25   lethal weapons and all this stuff and like order and so in

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 1   my head I'm thinking no lethal weapons, you know.

 2         Q.    Um-hum.

 3         A.    And then the gate magically laid down for us and

 4   we backed up and when they were throwing flash pings at us,

 5   I'm standing right here, they're throwing them over in the

 6   open field where there's nobody, you know, and I'm kind of

 7   like why did they throw it over there, you know.            It was a

 8   lot of optics, I guess is the best way to put it.            So like

 9   when you see that picture of me, and I'm standing up there

10   on that top floor with all those cops, you see all that

11   smoke behind me?      Do you notice that?      The photographer

12   threw a smoke bomb down on the floor for added effect.

13         Q.    For staging?

14         A.    Yeah, yeah, and I literally was hanging out with

15   these guys.     They let me go to the window.         They let me walk

16   around taking pictures, you know, because I was kind of

17   getting a tour like a kid in a way.

18         Q.    Sure.

19         A.    I mean, they were very nice to me.          They were

20   letting me do it, and then driving home, you know,

21   everything happened so fast, but there was a guy with these

22   bullhorns that was right behind me, and this cop, I think he

23   was trying to get my attention, and I just wasn't focused on

24   this guys behind me, and so I'm driving home, and there was

25   this guy with the bullhorns, and he had a tattoo, and it was

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 1   that mother fucking -- or, I'm sorry -- so that on that

 2   pedophile spider web, you know.         You guys have an FBI thing

 3   that you released all that Ben Swan who was on ABC years ago

 4   and he tried to expose pizza gate and he got fired that

 5   night from ABC, and he works for RT now.

 6         Q.    Um-hum.

 7         A.    I don't know if you guys know that.

 8         Q.    No.

 9         A.    And, anyway, so that's where I found out first

10   about your FBI file on pedophile symbols, and then that's

11   when I learned about comet ping pong and all that crap, you

12   know, and then, oh, no, that's all fake, too, but this

13   symbolism is all there, and it's like how -- so like I'm on

14   Twitter, and then I see, oh, my God, that dude had that, you

15   know, and if I would have known that, I would have turned

16   around and beat the living crap out of that guy, you know,

17   just for having that tattoo, and if he was a patriot, and he

18   was definitely not a patriot -- well, I don't know.              I was

19   under the impression that he wasn't a patriot.

20         Q.    Is that the guy with his face painted, one of them

21   like the --

22         A.    Yeah.

23         Q.    Okay.

24         A.    And the cop -- see, I'm standing here, okay, and

25   the one cop, capital police, younger guy, was standing

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 1   here --

 2         Q.     Yes.

 3         A.     -- and the guy with the bullhorns was right behind

 4   me with the megaphone --

 5         Q.     Okay.

 6         A.     -- right?

 7         Q.     Right.

 8         A.     And this cop, he's like so what's that tattoo you

 9   got there?     Well, he had like these raccoon things, so from

10   where I was standing, those tails were blocking that, and I

11   didn't really focus, and then he was like, oh, yeah, and he

12   said the names of what these tattoos meant.           They were

13   having this big old conversation, and all the cops kept

14   looking at me, and kind of going like that to him, and I

15   wasn't getting it.       And now that I, you know, got all these

16   people, oh, you're part of Antifa, and so is that guy behind

17   you with the bullhorns, and there's pictures of him at these

18   Black Lives Matter things and all kinds of -- you know,

19   because I was starting to look into him, you know, and if I

20   would have realized that guy was who he was, I probably

21   would turn around and over that tattoo basically.

22         Q.     Yeah.

23         A.     And why would you put that on your chest unless

24   you're, you know, unless he thinks there's a different

25   meaning, but, you know, it only means one thing now that I

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 1   see all this stuff I've learned, you know, and I've just got

 2   a brain overload of all this information I've stored in my

 3   head for two years.      And now the last two years it's been

 4   like watching a movie of, and I already knew the movie --

 5          Q.   Yeah.

 6          A.   -- and I watched real life play out.         It was like

 7   I was getting information from the future almost, you know,

 8   and just so -- I think what really gripped me from the

 9   beginning was the child trafficking and all that with the

10   Hillary Clinton thing.       That's what hooked me right off the

11   bat.   I was molested from when I was 7 until I was 14.

12   Right now that guy currently has a restraining order against

13   me, so I have texts with him.        I told him I'm going to call

14   human -- he's a high up person in Mayo Clinic in Rochester.

15   I was like I'm going to call the human resource department,

16   I'm going to tell them, I'm going to mail letters to all

17   your neighborhoods, you know.        I was done with him at that

18   point.

19          Q.   I'm really sorry to hear that that happened to

20   you.

21          A.   Yeah.

22          Q.   I mean, I'm really -- I mean --

23          A.   And I think that has really -- it was like my rise

24   up to fight it in a way I guess.

25          Q.   Yeah.

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 1         A.    And so I sent a text to -- I still talk to

 2   Whitney.    She's part of the family, and she come out and

 3   started telling me how she was also raped by that family,

 4   the wife and stuff, so we bonded by that, and we talked a

 5   lot, and then I told her to go to her mom, go to your mom,

 6   and tell her all this stuff and explain how throwing her in

 7   the nut ward --

 8         Q.    Yeah.

 9         A.    -- because she lost her kids and she's like, look,

10   I can't talk to you.      I've got to just get my kids back and

11   live my life.     I can't do this, and I was like whoa, and

12   then next thing you know, that got me fired up against Tom,

13   you know, because I was like, wow, you're -- that family's

14   messed up --

15         Q.    Yeah.

16         A.    -- and the next thing I know, I'm getting served

17   papers on a restraining order, you know.

18         Q.    Yeah, because like you're the bad kid.

19         A.    Yeah.

20         Q.    How ironic is that?

21         A.    So in a way I was kind of like use that attention

22   right now, you know, to turn it on, but I can't because

23   there's still nothing I can do.        I can't do it because it's

24   all hearsay or whatever.

25         Q.    Yeah.

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 1         A.    Which is whatever, you know.

 2         Q.    Sounds like you've had a pretty hard life.

 3         A.    Yeah.

 4         Q.    Did you grow up here in the Des Moines area?

 5         A.    I grew up here in the Des Moines area.          By the

 6   time I was 7, I had been to 20 or more foster homes.             I

 7   bounced from a lot of temporaries --

 8         Q.    Yeah.

 9         A.    -- and then he became my -- Mark Brown was my

10   probation officer or juvenile probation because I was on

11   probation at that age because of my --

12         Q.    Case worker maybe?

13         A.    Something like that.      Mark found -- yeah, he was

14   the one that decided I need to be in a Big Brothers

15   organization called the Very Important Partners.            Actually

16   it was volunteers in probation until the guy that molested

17   me took over that and became the director and changed the

18   name to Very Important Partners, showing an adult hand

19   holding a little hand, you know.

20         Q.    That must make you sick.

21         A.    Oh, it does, yeah.      And so that had a lot to do

22   with, you know, me getting so involved and into that stuff

23   because then I was like, wow, this -- and then I got into

24   the Johnny Gosch thing, you know, and that poor Noreen.              She

25   was made to be crazy.

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 1         Q.    I saw the documentary online.

 2         A.    Yeah.

 3         Q.    And I'll tell you, it's -- after watching

 4   something like that, you're just like, wow, what a story.

 5         A.    Yeah, of her saying -- you know, as funny as the

 6   cop says to me he's got to come from West Des Moines.            I'm

 7   like why West Des Moines, you know, because that was the

 8   first thing I thought of, why you guys coming from West Des

 9   Moines, you know.      So, yeah.

10         Q.    So the -- correct me if I've got this wrong,

11   right, but this sounds to me like what you're describing is

12   is an event where like, hey, you showed up, you go out

13   there, and you show up for the rally, right, and then like

14   one thing leads to another --

15         A.    And it just all --

16         Q.    -- and, yeah.

17         A.    We were all fired up at that point, and when you

18   got a crowd like that, and you get the feeling that you're

19   wanted to go in, like why did they lay the gate down?

20         Q.    Right.

21         A.    Why were they throwing the flash pings so far away

22   from us, you know.

23         Q.    So it was like they were inviting you.

24         A.    Yeah, no, they were.

25         Q.    I mean --

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 1           A.   They went out with Zan (ph.).       They were doing

 2   this.    When that video cut out that guy on the stairs, it

 3   cut out because he went like this and took off up the

 4   stairs, so when I ran up into that crowd of those guys, I

 5   was up there before all those other people were.            Like I was

 6   literally by myself.

 7           Q.   Yeah.

 8           A.   And then they came up a few seconds later, and --

 9           Q.   Yeah.

10           A.   -- I went in there.     I wanted, you know, I wanted

11   to stop this crap, the Pence and all that, you know,

12   because --

13           Q.   Yeah.

14           A.   -- I feel like I know so much, you know, and it's

15   like nobody else seems to know anything, and, you know --

16           Q.   Yeah.

17           A.   -- I got the feeling they know it all.

18           Q.   Yeah.

19           A.   Those capital police, they just have to follow

20   their orders.     They have their own, you know, lives and

21   families and stuff, so they wanted that to happen.

22           Q.   So later on when we get back we're probably going

23   to have to talk to some people in Washington and they're

24   probably going to ask us, hey, you know, this seems like a

25   planned event, it seems like they went out there with the

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 1   intent of doing this, and, I mean, if that's not the case, I

 2   mean, I'm wondering what you would tell me to tell them.

 3           A.   It was not in my -- I didn't know this was

 4   happening.     I didn't go out there with the intention of

 5   storming any, you know -- I didn't -- it just went with the,

 6   you know, I went with the crowd.

 7           Q.   Yeah.    Do you think there were people there that

 8   that was their intent --

 9           A.   Yeah.

10           Q.   -- in the crowd?

11           A.   Those people with the backpacks with the tools

12   because I've been to a few rallies, and it's nothing but

13   peace, loving, happy people, you know --

14           Q.   Yeah.

15           A.   -- of all races, and when I got a little clos, you

16   know, it just -- it was weird because I saw these backpacks.

17   I saw them pulling out weapons and stuff, and I was going,

18   whoa, you know, but I didn't stop to think just like I

19   didn't focus on that guy's tattoo behind me.

20           Q.   Right.

21           A.   Or I probably would have whooped him for those

22   cops.    They kept, you know, they kept doing this thing with

23   me, look at me and do this, you know, and I'd look at them

24   and I thought they were just irritated by the megaphone, you

25   know --

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 1         Q.    Yeah.

 2         A.    -- but I think they were trying to get me to

 3   focus, and I wasn't focusing.

 4         Q.    Yeah.

 5         A.    You know, there was body language.

 6         Q.    Yeah.

 7         A.    It speaks, you know, volumes.

 8         Q.    It does.

 9         A.    And the body language I got -- do you think I

10   would have ran after that cop if I didn't feel like he was

11   directing me up those stairs?        Did I try to touch him?     You

12   know, I didn't do nothing.        I was just like, no, you know,

13   don't -- I'm only here to get you guys to go in there to do

14   your job and arrest those people.

15         Q.    I wonder if it's possible if you -- if when you

16   told him I'll take it, I'll take it, I wonder if it's

17   possible that he thought you meant you'll take his baton.

18         A.    No, no, he knew.      I said hit me, I'll take it for

19   this country is what I said.

20         Q.    Okay.

21         A.    You -- what, you mean when he ran away from down

22   at the bottom?

23         Q.    Well, yeah, I mean I guess the only reason I bring

24   it up is because, I mean, that might explain why he would

25   want to retreat from you, like if he thought you were saying

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 1   you were going to take his baton --

 2           A.   Yeah.

 3           Q.   -- he might want to create space in that instance,

 4   but if you're telling me that's not the way it went down --

 5           A.   No, I said that to him at the top of the stairs

 6   where they cut the video.

 7           Q.   I see.

 8           A.   Yeah.

 9           Q.   And you think he understood you completely.

10           A.   Oh, yeah.

11           Q.   Okay.

12           A.   Yeah.

13           Q.   So, I mean --

14           A.   That's the same guy that took the knee and when he

15   did it, another cop did it, and I'm like don't do that,

16   don't take a knee for me, you know.

17           Q.   Yeah.

18           A.   I just wanted them to put their weapons away

19   because this was not going to be an aggressive thing.            You

20   guys are safe, I'm out numbered here, you know, just put

21   your batons away, you know, and where's that picture, you

22   know.

23           Q.   So, yeah --

24           A.   They've got a picture with me of my arms out, they

25   got all these other pictures, but they don't have the

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 1   picture of me standing there like this, leaned against the

 2   wall bull crapping with them --

 3         Q.    Yeah.

 4         A.    -- for half an hour or 20 minutes, you know.

 5         Q.    Or there's no pictures of them waving you through,

 6   right, like you're --

 7         A.    Yeah, yeah.

 8         Q.    -- describing.

 9         A.    Well, it cut, when it cut -- when I got to those

10   stairs and he stopped, he acted like he was going to hit me

11   or whatever, and I said go ahead, I'll take it, you know,

12   like --

13         Q.    Yeah.

14         A.    -- hit me, you know, and he just kind of did this

15   thing and kept going up the stairs, and then I went by an

16   elevator and there was two women officers and another black

17   officer, and I like stopped like do I get in with you guys,

18   and they're like, no.       I was like, oh, okay, and I, you

19   know, I had no idea where I was going.          I was being

20   directed.

21         Q.    Right.

22         A.    I really was.

23         Q.    So --

24         A.    But I hate to say that.

25         Q.    Yeah.    Well, I mean if it's what really happened.

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 1          A.   It is.

 2          Q.   And I'm --

 3          A.   It really is.

 4          Q.   -- wondering who you hold responsible for --

 5          A.   Myself.     I don't blame anybody else.      I don’t

 6   blame the President, I don't blame, you know, I'm going to

 7   take responsibility for what I did because --

 8          Q.   Yeah.

 9          A.   -- I went there with the full intention of

10   standing up for my country.

11          Q.   Right.

12          A.   And we are on the verge, this is it.         We're are at

13   the end of the story, you know what I mean?           Biden's about

14   to be our president, and it is -- and Pence was supposed to

15   be the hero to save the day, and he didn't send it back to

16   be recertified, you know, and so, I don't know.           When I was

17   walking up there, I thought we were going to stand outside

18   the gate, yell and protest or whatever, you know.

19          Q.   Right.

20          A.   Whatever you call it, and it just -- there were

21   these people off to the sides that was feeding the fire, and

22   they just laid down the gate and like let us in.            There was

23   no real resistance.       Where was the chain on the inside of

24   those doors if they were really trying to keep that crowd

25   out?

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 1           Q.   Yeah.    Makes you wonder.

 2           A.   Um-hum.

 3           Q.   Makes you wonder.

 4           A.   I think they needed that to happen for the

 5   Insurrection Act.        I'm hoping, I guess, it's like the last

 6   thing left.     Trump's got his Trump card and I'm just waiting

 7   for it, and then it's like now after I'm driving home, and I

 8   hear him say that what I did was wrong, and he's, you

 9   know --

10           Q.   Yeah.

11           A.   -- American or patriotic, I wasn't violent, you

12   know.    I didn't hurt -- I didn't even -- the kid that

13   touched the cabinet, I'm like, hey, you know, like don't do

14   that.    We're not here to, you know -- all he did was open

15   the door to look, but I'm still like, you know, don't touch

16   that.    The windows are one thing.        A door is one thing.

17           Q.   So one thing that we really haven't covered is

18   it's like what if any instructions you got from the police.

19   I mean, at any point did they tell you to stay out or to

20   stay back or to not come in?

21           A.   No.

22           Q.   Right.

23           A.   Never.

24           Q.   So if they really wanted you to stay out, they

25   would have said, hey, it's against the law for you to come

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 1   in here.

 2         A.    You're trespassing.

 3         Q.    You're trespassing.

 4         A.    Or, yeah, you are not wanted here.         Yeah, yeah,

 5   that's true.

 6         Q.    So I'm just wondering, I mean, if -- I guess not

 7   that I have any experience being a capital policeman, but --

 8         A.    Right.

 9         Q.    -- like if there's a bunch of people getting ready

10   to make an unlawful entry, I probably would know that, hey,

11   you guys are flirting with a felony right now.

12         A.    Right.

13         Q.    So you -- so I'm just wondering when they run the

14   videos back, I mean, what are we going to hear or see from

15   the capital police on that issue?

16         A.    That's why he resigned.       That's why I want to see

17   the picture because the old man that walked up to me that

18   did that stare into my eyes --

19         Q.    Yeah.

20         A.    -- and I was just like God bless, you, sir.          I

21   didn't --

22         Q.    Yeah.

23         A.    I'm just curious if I would talk to that guy --

24         Q.    Yeah.

25         A.    -- that was the guy that resigned because being a,

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 1   you know, a capital police chief or whatever, he'd be an

 2   older guy.

 3         Q.     Right.

 4         A.     This guy had blue eyes and gray hair, and that’s

 5   about all I can remember.        I was so locked onto those eyes,

 6   you know.

 7         Q.     Yeah.

 8         A.     I mean, I see his face, but, I don't know, I'm

 9   pretty sure that guy had something to do with him protecting

10   me.

11         Q.     Yeah.    So when did you find out that there had

12   been loss of life?

13         A.     When I heard the gunshot.

14         Q.     Okay.

15         A.     Yeah.

16         Q.     Okay.    And what'd you -- what happened after that,

17   after you heard the shot?

18         A.     I yelled at the cops I thought you weren't

19   supposed to have lethal weapons, and they're like we have

20   our pistols for protection, for personal protection.

21         Q.     Did you see the person who had been hit?

22         A.     No.

23         Q.     You didn't see them.

24         A.     Uh-uh, but what I did see was the cop crying.

25   There was like a 20 -- mid-20s --

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 1         Q.    Yeah.

 2         A.    -- bawling, bawling.      He felt that.

 3         Q.    Oh, yeah.

 4         A.    Yeah.   I think he was the one that shot her, and

 5   I'm sitting there yelling.        I wasn't yelling at him because

 6   he was crying, but I was yelling at the guy next to him.

 7         Q.    Yeah.

 8         A.    And I looked over and I see him crying, and then I

 9   started seeing officers come by that were hurt, covered in

10   dust from whatever.      I was just like, oh, my God.

11         Q.    Were you the only guy from Iowa there?

12         A.    My friend that I took with me.

13         Q.    Yeah.

14         A.    And I don't know any other people from Iowa.         I

15   didn't know anybody else there.

16         Q.    Oh, I see.    Yeah, I wasn't sure.

17         A.    I'm sure I'm not the only person --

18         Q.    Yeah.

19         A.    As many people were there, I'm sure there was at

20   least 100 people from each state.

21         Q.    Oh, I'm sure.     And i wouldn't expect you to know

22   all of them, but we didn't know if this was a, you know, a

23   part of a caravan or a group that went out together or --

24         A.    I drove my car.     That was the thing I was telling

25   you is that I went to work on Tuesday --

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 1          Q.   Yeah.

 2          A.   -- woke up at 6:00 in the morning, and then I

 3   drove straight there and I got there at 11:15 and I was

 4   like, oh, I'm late, you know, and I made it because he was

 5   late, you know, to the rally and then I did all that, went

 6   to the, you know, the capital, and then I was in the --

 7   under the main dome at the bottom and they shut all of the

 8   doors around us and, you know, there was a lot of cops and

 9   then they were like you're all going to jail, and they

10   arrested all of those people, and then that's when that cop,

11   the old man came up to me and did like this stare into my

12   eyes, and I felt bad for him.

13          Q.   Yeah.

14          A.   I was like God bless you, sir.

15          Q.   Yeah.

16          A.   Like, oh, my God, you know, I felt bad for that

17   old man, and the next thing I know the cops are taking me

18   out.

19          Q.   Yeah.

20          A.   But still arrested all those other people.            But

21   here you go, you get out of there, you know.           Okay.     Thank

22   you, and I left.      And so what else was weird was that when I

23   took the cop, the black cop, when I took his hat and went to

24   put it on my head and take a selfie --

25          Q.   Yeah.

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 1          A.   -- my phone died.

 2          Q.   Bad timing.

 3          A.   80 percent, okay, and I couldn’t turn my phone

 4   back on.    I'm just wondering, did they really shut my phone

 5   off?

 6          Q.   Well, I don't know.

 7          A.   Is there something that did that?         Because I was

 8   kind of impressed with that because I couldn’t turn my phone

 9   on, and I had no charger.       My charger was in my car from my

10   valet and they shut the valet parking down, so I couldn’t

11   even get my car, so I had no way to charge my phone, and I

12   couldn’t turn on my phone, but then I'd plug in my phone,

13   turns on, and I'm at 80 percent.

14          Q.   Yeah.

15          A.   And so I'm like, yeah, so I thought that was

16   really weird, and you know what else, that picture wasn't

17   there, the one that -- with the hat.

18          Q.   With the selfie.

19          A.   Yeah, the selfie with the police hat.

20          Q.   So when you found out about -- when you found out

21   from Q that there was going to be a rally there, I'm

22   wondering did you mention anything about the Iowa state

23   capital or anything.

24          A.   I don't know, no, no.      I don't think so, but there

25   was supposed to be something.        Did anything happen at this

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 1   capital?     Did anybody show up?

 2           Q.   Yeah, we're still sorting it all out, but like --

 3           A.   Oh, (indiscernible) dates?

 4           Q.   Well, yeah, so, I mean, I was just curious, you

 5   know.

 6           A.   Like how many?

 7           Q.   I don't have the details.       In fact, we're -- you

 8   know, that's something we'll have to talk to the state

 9   patrol about.

10           MR. JOHNSON:     I think the rally in D.C. kind of grabbed

11   everybody's attention.

12           BY SA JAMES:

13           Q.   Yeah.

14           A.   So did this happen at all capitals?

15           Q.   I don't know how widespread it was.

16           A.   Because it didn't say -- it didn't say go to the

17   Iowa state capital.        They said go to the -- if you can't

18   make it to D.C., the Trump rally in D.C., then go to your

19   local capitals and, you know, protest on the 6th.            If you

20   can't make it out to D.C. at least go to your local

21   capitals.

22           Q.   And that came from Q or that came from Twitter or

23   where'd that come from?

24           A.   I'd have to -- I remember reading it, but like I

25   said, because there's so much -- Q -- all right, the dis-

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 1   info is just insane, right?

 2         Q.     Yeah.

 3         A.     And me following all these people, sometimes I

 4   can't remember which person.

 5         Q.     Sure.

 6         A.     But everybody that I get my info from I got them

 7   from Q in the first place, but like they -- he posted a

 8   thing on that Twitter account maybe a year-and-a-half ago.

 9   Why I pull up that account every day, and they have

10   something.     I can show you some stuff.        You got Twitter?

11         Q.     I don't have Twitter, no.

12         MR. JOHNSON:       Neither do I.

13         BY SA JAMES:

14         Q.     We had people that do, though.        There's someone

15   who needs to be looking at.

16         A.     There's so much.

17         Q.     Yeah.

18         A.     Oh, my God, I can show you guys so much, but all I

19   would show you is where I'm getting my info from.

20         Q.     Well --

21         A.     But then I know I have to watch out for dis-info.

22   Q always said --

23         Q.     Yeah.

24         A.     -- what out for dis-info, and -- but then why did

25   you tag that guy if I'm not supposed to listen to him.

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 1         Q.    Well, if you want to give us a list of user names

 2   on Twitter that you think we should look at, I'd be happy to

 3   take you back and give it to one of my people to do deep

 4   guidelines, so if you want -- if you're willing to do that,

 5   I mean, I'd be filling to have somebody do it.

 6         A.    I'd have to have something to be able to send onto

 7   my Twitter account from here.

 8         Q.    Okay.

 9         A.    Right?    I have it all, it's all on my --

10         Q.    Twitter account.

11         A.    Yeah, it's all -- like I don't have the exact

12   names, but one's like John F. Kennedy, Jr. --

13         Q.    Yeah.

14         A.    -- but it's like spelled with two D's, Kenneddy

15   with two D's or something like that, and then there's the

16   Juan Q Saving.

17         Q.    Um-hum.

18         A.    There's three days, three nights.         And that's

19   Eden, E-d-e-n.

20         Q.    Yeah.

21         A.    Three days, three nights.       3D3N, Eden.

22         Q.    Eden.    Okay.

23         A.    Okay.    That's a big one.     E, E used to be on

24   there, but he moved to Parler.

25         Q.    Um-hum.

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 1         A.    And then Joe Macepost (ph.), he used to be on

 2   YouTube until he got pulled down, and, you know, the plan to

 3   save the world, all those videos, Q, the plan to save the

 4   world --

 5         Q.    Yeah.

 6         A.    -- or the Fall of Kabul.       Do you guys know what

 7   the Fall of Kabul is?

 8         MR. JOHNSON:      I don't.

 9         BY SA JAMES:

10         Q.    I don't either.

11         A.    You can't even find that anymore.

12         Q.    Yeah.

13         A.    It's a 10 part series called the Fall of Kabul.

14   That's something you guys should watch.

15         Q.    Yeah?

16         A.    Yeah, because --

17         Q.    What's the deal with that?        I mean, what are we

18   going to find there?

19         A.    Whoever the woman is that did it should be a

20   teacher because she was so thorough.

21         Q.    Really?

22         A.    Yeah, and part 10 she ends it with Kennedy.

23         Q.    How about that.

24         A.    And how she believes Kennedy's alive, you know, so

25   the Fall of Kabul on YouTube.         I watched that.    That lady

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 1   goes and exposes it all.

 2         Q.    Yeah.

 3         A.    It's a 10 part, and so then there's Q, the plan to

 4   save the world, and then all -- there's the -- anything by

 5   Joe Macepost, and he was removed from YouTube, so now you

 6   can go to Parler and that's where I was following E, and

 7   then --

 8         Q.    That's your handle?

 9         A.    E is Ezra Cohen.

10         Q.    What's your handle on Parler?

11         A.    Doug Jensen.

12         Q.    Doug Jensen?

13         A.    Yes.

14         Q.    And so Twitter, Parler and what other platforms

15   are you active on?

16         A.    Twitter, Parler -- Parler is just recently.

17         Q.    Right.

18         A.    As in the last month.

19         Q.    Right.

20         A.    And then TikTok, and then -- so there's Twitter,

21   TikTok, Facebook and Parler.

22         Q.    Yeah.    Okay.   And is that -- I see.      So, you know,

23   I've got to tell you I respect your willingness to take

24   accountability for your actions.         You know, that's not

25   everybody that we sit across the table from's wiring, but

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 1   like I'm wondering, you know, what do you think should

 2   happen to you as a result of what's going on?

 3         A.     I just want to -- what should happen to me?            What

 4   should happen to KCCI for making me out to be -- making us

 5   out to be terrorists, you know.         I'm not a terrorist.       I am

 6   patriotic.     I am for America, and I feel like we are being

 7   taken over by communist China, you know, and the whole

 8   Russian collusion was fake.        I don't know what the deal with

 9   Russia is, but I don't know, Vladimir Putin, he seems to be

10   like a decent person, but I could be crazy, you know.              But I

11   think we were taught from a young age to hate Russia and all

12   of this stuff.       I've researched on Vladimir Putin.          I was

13   like this guy don't seem so bad, you know, but I don't know,

14   you know.

15         Q.     Yeah.

16         A.     I don't know because I didn't look in the eye

17   completely.     When the news says Russia, I look the other

18   way, you know.       Whatever the news says I don't listen.         I

19   don't even take the time to, you know, because I've seen the

20   proofs that they're lying to us, that they can't say

21   anything, you know, so I don't even watch TV.

22         Q.     Yeah.

23         A.     I don't watch it at all.

24         Q.     It's too much of a bummer, huh?

25         A.     Oh, God.

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 1         Q.    Yeah, you and me both.

 2         A.    Yeah.   It makes me sick to my stomach.

 3         Q.    Yeah.

 4         A.    But then, you know, I'm driving home, and the next

 5   thing I know I'm a terrorist and all this crap by KCCI

 6   and --

 7         Q.    Yeah.

 8         A.    -- it's like are you kidding me?

 9         Q.    That must have been a shock to hear.

10         A.    Well, it my fault for putting my face out there,

11   you know, but --

12         Q.    Yeah.

13         A.    Yeah.   That’s what -- I just wanted to do my part

14   as a patriot.     That’s what I was doing.

15         Q.    (Indiscernible).

16         A.    I thought we were, you know -- that we were gonna

17   save the election --

18         Q.    Yeah.

19         A.    That was stolen.

20         Q.    So after everything that’s happened in D.C. now,

21   like, in Europe, what happens next?

22         A.    They blocked Trump on Twitter.        He has no way to

23   speak to the people right now.

24         Q.    Mm-hmm.

25         A.    And that’s where the Storm Act took effect on the

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 1   1st or 2nd.     And that Storm Act has to do with the emergency

 2   broadcast system.

 3         Q.    Okay.

 4         A.    And basically he’s gonna use the emergency

 5   broadcast system -- well, what I think he’s gonna use it for

 6   is to show video confessions of all these people, and

 7   they’re all going to GITMO.        And if you look at the size of

 8   GITMO compared to four years ago, it’s massive now.              And I

 9   believe that he’s draining the swamp, you know?           I

10   completely trust this President, you know?            And I’ve lost

11   all faith in Nancy Pelosi and Adam Shift, you know -- just,

12   I can’t think of him right now, but --

13         Q.    Yeah.    Are there other planned protests or

14   anything like that that you’re aware of?

15         A.    No.

16         Q.    Would it surprise you after -- I mean as much the

17   media and broadcast attention that D.C. got.           I mean,

18   everybody across the country was watching that stuff unfold,

19   right?

20         A.    Right.

21         Q.    It’s a big, big incident, you know?          A historical

22   thing, right?

23         A.    Mm-hmm.

24         Q.    So --

25         A.    And that’s why I wanted to be there --

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 1         Q.    -- do you think that there’s --

 2         A.    -- because I was under the impression that this is

 3   it.   This is gonna be historical.

 4         Q.    Yup.

 5         A.    So it’s why I went.

 6         Q.    So based on that then, I mean, do you think

 7   that’ll be, like, a catalyst to further protests or anything

 8   else down the road?      Particularly, within the next ten days

 9   where, like you’ve told us, this ten days of darkness,

10   right?

11         A.    That’s where he’s being muted basically.

12         Q.    Okay.

13         A.    That’s -- I don’t know.       I don’t know.

14         Q.    Okay.

15         A.    Ten days of darkness, I’m pretty sure it was a

16   (indiscernible) thing a long time ago.          It’s just something

17   that stuck with me.      Also, done in thirty was another one,

18   another big one, done in thirty -- I don’t know.            I

19   thought -- I don’t know what I thought the start date was

20   for that.

21         Q.    Yeah.

22         A.    But it kind of came and went, and then I was wrong

23   again, wrong again.      I’m always wrong again.

24         Q.    What do you think will happen for the

25   inauguration?

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 1          A.    I hope it’s an -- it’s a rest.       I don’t know.        I

 2   hope -- I believe Trump’s still gonna be our President.

 3   He’s got something.       He’s too confident.     He’s got

 4   something.     He -- I don’t know.

 5          Q.    Was there -- during the protests and everything in

 6   the Capitol, I mean, was there ever anybody that you talked

 7   to, any rumor of like, hey, you know, this is what’s gonna

 8   happen?     Maybe, theoretically, Trump isn’t elected.           Are

 9   there plans for if that doesn’t happen?

10          A.    I heard lots of people saying well, this was the

11   first warning.       You know, like, the next time, you know?

12   But that was just people chattering.

13          Q.    Just talking.

14          A.    Yeah.

15          Q.    Okay.

16          A.    So --

17          Q.    So, I mean, you clearly have a -- I mean it sounds

18   to me like your approach to his whole issue is a nonviolent

19   one?

20          A.    Yeah.

21          Q.    But I wonder, if you ever -- if in the rooms that

22   you frequent and the places you frequent, I wonder if you

23   ever hear from people who, like, advocate violence.              You

24   ever hear that kind of thing?

25          A.    I seen it with my own eyes.       What do you mean by

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 1   advocated for violence --

 2         Q.    Well, I mean, do you ever hear anybody say, like,

 3   you know, we ought to, you know -- you know, say things like

 4   hey, we should take up arms.        We should, you know, we

 5   should -- I mean, do they say things that --

 6         A.    I heard that.      I heard people saying that.

 7         Q.    Yeah.   And, I mean, I wonder --

 8         A.    Like, the next time, this time, you know?            And the

 9   next time we’ll bring -- I heard all kinds of stuff walking

10   around people chattering and stuff.

11         Q.    I can well imagine.

12         A.    Yeah.   But, like, I don’t know.          I didn’t plan

13   nothing.    I didn’t -- I didn’t -- I just -- I did what my

14   President told me, and that was to go to D.C. on the 6th for

15   a rally.

16         Q.    Yeah.

17         A.    And then next thing you know, it was -- just -- it

18   happened, and I just, at that point, wanted to be that guy,

19   I guess.    You know I wanted to be the poster boy.          So I

20   wanted to be the front, and I got -- I climbed that wall and

21   went in -- but I didn’t break that window, you know?             I just

22   climbed through the window.

23         Q.    Got it.

24         A.    And I didn’t have -- the only thing I had on me

25   was a knife, and that was protection from if there was going

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 1   to be some kind of showdown.          I was -- what I thought was

 2   gonna happen -- what I thought, when I went there, was that

 3   there’s gonna be a hundred thousand of us, and

 4   (indiscernible) show up with his caravans of people and

 5   chaos was gonna break out.

 6         Q.     Yeah.

 7         A.     So I had a knife on me for my only protection

 8   basically.

 9         Q.     Yeah.

10         A.     You know?     And that knife never left my pocket.

11         Q.     Mm-hmm.

12         A.     That whole time, you know?

13         Q.     Did you ever feel threatened?

14         A.     I don’t know.      No.

15         Q.     So would you say then, at the protest, was it a

16   smaller turnout than what you were expecting?           Just based on

17   everything that you had seen and --

18         A.     Well that was a huge crowd (indiscernible) and I

19   can’t count that high.

20         Q.     Yeah.

21         A.     I mean, I can count.       But I’m just saying I can’t

22   look at a crowd and be like oh, 38000 people are over here,

23   you know?

24         Q.     Yeah.

25         A.     But I do know that -- I did hear a guy say

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 1   something about well, Obama’s was clear out, like, way

 2   bigger than that.        And I thought that there was gonna be one

 3   to, you know, two million people there, because it only

 4   takes 3% -- back in, you know, 3% of the people rose up for

 5   the Revolution and that’s all it takes.           So I just wanted to

 6   make sure I was there to make that 3%.

 7           Q.   I see.

 8           A.   You know?

 9           Q.   So you talked about the one Buffalo

10   (indiscernible) guy.        You talked about (indiscernible).

11   Have you got any tattoos?

12           A.   I got one tattoo.

13           Q.   Do you?     Is it -- is there a significance to it

14   or --

15           A.   Well, it’s kind of funny because the friend that I

16   took with me, they were the one that gave me the tattoo.

17           Q.   Yeah.

18           A.   We’re friends, and then I was never gonna get a

19   tattoo, but he’s a tattoo artist and so I let him -- I let

20   him do a tattoo right here.         I actually had it covered up

21   and redone because it’s supposed to say good and evil.           It’s

22   a duality thing.

23           Q.   Yeah.    Okay.

24           A.   And well, that was all that I had there the first

25   time, right?

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 1         Q.    Right.

 2         A.    And I went to Vegas with my wife, and we had like

 3   1500 buck to spend, you know?

 4         Q.    Mm-hmm.

 5         A.    That included -- like, I only had like 800 bucks,

 6   maybe, to spend after we got our room and our flights and

 7   everything.     And it was early in the morning.        We’re walking

 8   out of our room, you know?        I’m like, it’s Vegas, let’s

 9   drink and she’s like I want Dairy Queen.          And we’re walking

10   by this -- we didn’t come all the way here for Dairy Queen.

11   Let’s go to this bar over here, you know?

12         Q.    Yeah.    I hear you.

13         A.    So I sit down at the bar and I was like can I get

14   a Jack and Coke.

15         Q.    Yeah.

16         A.    I just kind of, like, put money in the machine.

17   So I put a dollar in it and he hands me my Jack and Coke.

18   And I start playing it, and then my wife orders her drink.

19   And he’s kind of, like, so I put a dollar in her machine.

20   She hits the button and won 1500 or 1600 dollars.

21         Q.    Now we’re talking.      Yes, sir.

22         A.    So we ended up getting drunk.        I paid for a --

23   ahead of time, I had already paid for the UFC fights and the

24   Gwen Stefani concert.       Well, I went to the UFC fights, I

25   think, the night before or whatever.          And then the next day

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 1   was the Gwen Stefani thing.        All I know was after we won

 2   $1500, I’m trying walk to the Gwen Stefani thing down the

 3   sidewalk.    And I don’t know.      I’m literally sweating and,

 4   you know, I’m just trying to keep up with my wife.               And I

 5   think I fell asleep during that Gwen Stefani concert, and

 6   then we left there and we went and got tattoos and I wake up

 7   the next day and I got this tattoo and I’m broke.

 8           Q.   Now that’s the kind of tattoo story I like when I

 9   ask that question my friend.        That’s a lot better than most

10   of them.     So I hope -- you’re still married to her?

11           A.   Yeah.    She’s really freaked out right now.

12           Q.   Yeah.    I was just gonna ask, like, what’s her take

13   on this whole thing?

14           A.   She’s -- she was just like, what the hell?            You

15   know?    You’re a terrorist, Doug.       You know?    I’m like baby I

16   am not a terrorist, you know?         She’s like, you’re all over

17   the news and blah, blah, blah.         I (indiscernible).

18           Q.   For what it’s worth, when you talk to her, we get

19   paid to separate the sheep from the goats when it comes to

20   real terrorists and not.

21           A.   Right.

22           Q.   And you are -- you do not fit our definition

23   either, my friend.

24           A.   Well good.    Thank you.    That’s good.

25           Q.   So what do you think?      You ever get kids with her?

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 1         A.    I’ve got three kids with her.

 2         Q.    Yeah.

 3         A.    One kid, or my son, is in Iowa city.         He lives

 4   with his girlfriend.      He went to Iowa his freshman year.

 5         Q.    Yeah.

 6         A.    And it was $24,000.      We got cut out in the middle

 7   of COVID, and then they still wanted me to pay $21,000 of

 8   $24,000.    And I was kind of like are you kidding?          Like, you

 9   should have given me half back.        You know?     I wish I

10   wouldn’t have said that, because then Austin’s like oh,

11   well, here, I’m gonna go to Kirkwood.          I’m like no, you go

12   to Iowa.    Well, no.    Dad, it’s cheaper right now.        I should

13   have just kept my mouth shut.

14         Q.    Yeah.

15         A.    You know, because my kid tried to go to Kirkwood

16   instead because I told him you go to college, I’ll pay for

17   it.

18         Q.    So aside from everything that happened, and, like,

19   the situation you find yourself in, I mean, what was the

20   plan with work?     You know, if things hadn’t gone crazy --

21         A.    So if I would have come home, and I would have

22   called Rob (ph.), which I kind of need to call him just to

23   be like hey -- well, I guess I don’t need to call him.           I’m

24   pretty sure he knows.

25         Q.    Yeah?

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 1         A.    So I was going to be laid off and he was going to

 2   allow me to collect unemployment and I just had to call him

 3   every day until he had a spot for me, but he would

 4   (indiscernible) I’m sure it would have been a lot more than

 5   14 day quarantine.

 6         Q.    Yeah.

 7         A.    He does that.

 8         Q.    Do you get laid off every winter?

 9         A.    I’ve worked some -- no.       I don’t work

10   (indiscernible).      I run a forklift, a giant forklift.

11         Q.    Okay.

12         A.    And I build scaffolding and I unload trucks and

13   then put the pallets (indiscernible) and I go over to the

14   silo and I mix up the mortar, or I mix up the gravel, I dump

15   it in a tub, and then I drive the machine, and I set the two

16   up.   And then there’s tenders that run with shovels and

17   shovel out the mud and --

18         Q.    So the plan was to try to get back on with the

19   same firm then?     After the -- after you --

20         A.    Yeah.   I’ve been with them since 2006.

21         Q.    Okay.

22         A.    And I’ve been in the Labor’s Union since my son

23   was born.

24         Q.    Okay.

25         A.    So I was 21 and I was like well, I better go get a

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 1   real job I got a kid, you know?

 2         Q.    Yeah.

 3         A.    And I’ve worked my butt off ever since.          Actually,

 4   injured my back really bad when I was about 25 years old.

 5   And the company out of Wisconsin and they filed bankruptcy

 6   just a couple of months later.

 7         Q.    Bad break.

 8         A.    Yeah, I couldn’t do nothing.        I got screwed.   And

 9   then -- so I worked through the pain for a long time, and

10   I’m still in pain, but it’s more of a I’m used to it by now

11   pain to where it hurts but it just -- I think I have a

12   heightened pain tolerance because --

13         Q.    I bet you do now.

14         A.    Yeah.

15         Q.    Yeah.

16         A.    So --

17         Q.    You take anything for it?

18         A.    I take muscle relaxers, anti-inflammatories, and

19   then I get two 7.5 hydrocodone a day.

20         Q.    I see.    Yeah, that sound like -- I mean it sounds

21   like it must be pretty serious.

22         A.    And I take a blood pressure pill, and then there

23   was a knife that I gave these guys when I first got here and

24   my sister called me and -- this was 6 years ago, 5, 6 years

25   ago -- and my sister called me and she screamed in the

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 1   phone.      All I got was I been shot.       You know, jumped in my

 2   car, ran straight to my brother-in-law’s house, you know?

 3   And then I got there and there’s the Crime Scene

 4   Investigation van or whatever the van is, you know?

 5          Q.     Yeah.

 6          A.     And flashing lights everywhere.           I’m like oh, my

 7   god.   And then I get there, and I see my sister outside and

 8   I’m like, what happened?          Well, he -- what happened was he

 9   was taking care of his mom, and apparently, he fell asleep

10   or something and she passed away.           And on his birthday, he

11   felt so bad that he took his dead father -- he took care of

12   his mom and dad, and lived in that house, you know, taking

13   care of them.     His dad a heart attack so he was half

14   paralyzed.

15          Q.     Yeah.

16          A.     He took care of his dad for 7 years.

17          Q.     Mm-hmm.

18          A.     So his dad died, and then it was just him and his

19   mom.   And he found his mom.         He woke up, found his mom in

20   the bathroom, dead, and he blamed himself for sleeping

21   through it.

22          Q.     Yeah.

23          A.     And December 3rd was his birthday.          And he put

24   a -- he put his chin on his dad’s double-barrel shotgun and

25   he pulled both triggers.

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 1         Q.    Oof.

 2         A.    And there was a big blop [sic] of brains and stuff

 3   up here, and then just splatter around -- it looked like his

 4   head exploded.

 5         Q.    Yeah.

 6         A.    I picked up skull -- I picked up all the skull

 7   pieces, put them in a little band-aid box to give to my

 8   sister, and I -- the cops were called, you know, the cops.

 9   I was there.     They brought him out on a bed or a stretcher

10   with a book [sic] black body bag or whatever, and put him in

11   it was, like, maybe Hamilton’s or the cops.           I’m not -- I

12   don’t remember that exactly.        But the cop comes up to me and

13   hands me a pair of gloves and he says I really think you

14   should, you know, be the one to go in there and clean that

15   up.   Your sister’s gone through a lot of trauma.           And I’m

16   like nah, I don’t think so.        That’s your job, you know?     And

17   he’s like not on suicides it’s not our job.           So we called a

18   service master, one of those clean --

19         Q.    Yeah.

20         A.    And they wanted, like, I don’t know, $8,000 -- I

21   don’t even remember what the price was, but my sister’s

22   broke, you know?

23         Q.    Yeah.

24         A.    So I just went in there, I pulled the blankets --

25   those heavy blankets -- and the mattress.            I got all that

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 1   out.   And then I scraped the ceiling, bleached the walls,

 2   tore the carpet up.         I retextured the ceiling and redid that

 3   whole room just to clean it up.

 4          Q.     Yeah.

 5          A.     And I couldn’t sleep very good after that.

 6          Q.     I’ll bet.

 7          A.     And it probably went 2, 3 months and I was just

 8   kind of staying to myself and I’d only sleep like 3, 4 hours

 9   a night.     And I just kept doing it over and over, 3, 4 hours

10   a night and it was like I was getting used to it after a

11   while.

12          Q.     Yeah.

13          A.     My wife kept saying you’re really depressed.           I

14   think you need to, you know, so I went to my doctor, and I

15   said do you got some happy pills?           And she’s like, happy

16   pills?      You know?     And then I explained the situation and

17   she put me on -- my wife hands me all my medicine.               She’s in

18   charge.

19          Q.     It’s an anti-depressant.

20          A.     She’s a nurse.      Yeah, but it’s an anti-depressant.

21   And, anyway, I remember taking it -- at first, I didn’t

22   notice it, but then I started noticing it like a month or

23   two later, so I continued taking it because it --

24          Q.     Yeah.

25          A.     -- picks me up.      I think I’m naturally -- I was

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 1   already naturally depressed and I think that this kind of

 2   triggered it more, you know?

 3         Q.    Yeah.   It seemed to kind of take a while to build

 4   in your system.

 5         A.    Yeah.

 6         Q.    But if you don’t need those things, I don’t know

 7   who does, because, like, what you’re describing to me sounds

 8   pretty traumatic.

 9         A.    Yeah.

10         Q.    You seen your wife since you got home?

11         A.    Yeah, she yelled at me.       Get out of here.

12         Q.    Mmm.    I’m sorry man.

13         A.    I know, and I’m like, I just want to see my

14   family.

15         Q.    Yeah.

16         A.    I want to hug my wife, and my kids.         But I know.

17   I know what I did was stupid.        But I thought it had meaning,

18   I guess.    I don’t -- you know?

19         Q.    Yeah.

20         A.    And when I heard Trump concede, and then -- and

21   then say that, you know, what I did was wrong, and then the

22   Antifa went in and I got duped.        I feel like, in a way, you

23   know, was I following Antifa through that or, you know,

24   because I thought we were going to, you know, stop the

25   steal.

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 1           Q.     Yeah.

 2           A.     Is what I thought we were gonna do.        And I

 3   thought -- I don’t know why.         I don’t know.     I didn’t

 4   know -- I didn’t know when I was walking to the Capitol what

 5   I was about to do.

 6           Q.     Yeah.

 7           A.     I didn’t -- did not plan it.      It just happened,

 8   you know?      It -- I -- I always am that guy.        I got be at the

 9   front of the concert.        I got to be the front, you know, I

10   got to get to the front of that crowd.           So that kicked in I

11   guess.       And, you know, so, like, when I wore my Q shirt, I

12   didn’t know I was gonna go in and make -- but, you know,

13   once I -- once I got there though, I knew what shirt I had

14   on.

15           Q.     Yeah.

16           A.     And I wanted -- I wanted that to be, you know,

17   seen I guess, the Q, because, you know, one of things

18   that -- see that’s like, that’s the thing with the Q is Q is

19   so slick.      And laying in bed as he posts all these things,

20   and then -- and then warns you of this info and stuff.            But

21   then I’m following so many different things, you start

22   getting confused on who said what anymore.             You know what I

23   mean?

24           Q.     Yeah.   So I wonder how much responsibility you

25   think Q has for this whole thing.

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 1         A.    I don’t blame Q for -- I believe in Q 100%.             I

 2   still believe that Trump’s gonna be our President, and that

 3   there’s some trick he has left, you know?            And that all

 4   these arrests are gonna happen, and there’s gonna be this

 5   emergency broadcast that’s gonna, like, broadcast the videos

 6   of all their -- you know, them admitting to all this stuff.

 7   And I’m still holding on to that, I guess.           And then, I was

 8   kind of hoping General Flynn would become the Vice

 9   President, you know, because that’s more realistic than JFK

10   Jr., who probably passed away, you know?

11         Q.    Yeah.

12         A.    So on my wrist I have Flynn for the win.             And it

13   says digital soldier.       And that’s all I am, like, you know,

14   my job as a digital soldier is to be the news.           And try to

15   share that stuff that I find on Facebook.

16         Q.    Right.

17         A.    In my way that’s my -- doing my part.          I’m showing

18   it to at least a couple hundred people, you know?

19         Q.    And that’s how the message spreads, yeah?

20         A.    Yeah.    You know?    And that’s all I was doing.           I

21   was doing my part.

22         Q.    Okay.    Well, you had mentioned when you, when you

23   and your friend went out there you guys drove.           What kind of

24   car do you drive?

25         A.    I drive a -- I mean, what kind of car did I drive

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 1   out there?

 2           Q.     Yeah.    What did you drive out there?

 3           A.     I drove my wife’s car.

 4           Q.     Your wife’s car?

 5           A.     Because my truck wouldn’t have made it.

 6           Q.     Okay.    What kind of car is it?     Is it, like, a

 7   SUV, a sedan?

 8           A.     It’s a GMC Acadia.

 9           Q.     Okay.    What color?

10           A.     White.

11           Q.     And you talked about to the -- it sounds like you

12   guys got a hotel room while you were there.             Where did you

13   guys stay at?

14           A.     The Capitol Hilton.

15           Q.     The Capitol Hilton.

16           A.     And there’s another thing I need is I had my wife

17   book my room for me because she has this thing through her

18   work.    She works for Unity Point, so she got some kind of

19   perk or --

20           Q.     Yeah.

21           A.     Like, when we went to Mount Rushmore, and I walked

22   into all -- that motel, and they’re like oh, we’re sold out

23   sorry.       And then my wife’s like wait a minute.

24           Q.     Yeah.

25           A.     And I walk back up to the same desk and we had a

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 1   room, you know?

 2         Q.    Wow.    Nice.

 3         A.    And so I was like April, get me a room.          And then

 4   I got there, and they’re like oh, no.          You have no

 5   reservation, so I paid with my -- my bank account.

 6         Q.    Gotcha.

 7         A.    You know?     My checking -- my debit card.          And they

 8   billed me, so not only did I pay through my wife’s work, but

 9   I also had to pay second time, so I end spending $500 for

10   that one night and I need to kind of work that out so I can

11   get my money back.

12         Q.    Yeah.

13         A.    Credited on my checking account.

14         Q.    Gotcha.     You know, (indiscernible) just signaled

15   me that there’s a call for TJ.         So we need to take a break.

16         A.    Okay.

17         Q.    So for the person recording, this is Special Agent

18   Scott James.     Today is the 8th; is that correct?         Today’s

19   the 8th.

20               SA JOHNSON:      It’s the 8th.    Yup.

21               SA JAMES:       And the time’s approximately --

22               SA JOHNSON:      11:30.

23               SA JAMES:       11:30 --

24               SA JOHNSON:      Something.

25               SA JAMES:       We’re taking a break from the voluntary

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 1   custodial interview that we’re conducting.

 2               SA JOHNSON:     10:30 I meant.

 3               SA JAMES:    We’ll be right back.

 4               MR. JENSEN:     Can I smoke a cigarette or --

 5               SA JAMES:    Let me talk to the lads and we if

 6   can -- let me see (indiscernible) and then I’ll also see if

 7   they can not get that picture of the guy that we talked

 8   about.

 9               MR. JENSEN:     Thank you.

10               SA JAMES:    We’ll get back to you.

11               (Special Agent Johnson and Special Agent James

12   leave the room.)

13               (Background Conversation.)

14               UNIDENTIFIED SPEAKER:      Hey, how are you man?

15               MR. JENSEN:     Good.

16               UNIDENTIFED SPEAKER:      Hey, do you want to go out

17   and have a smoke or anything like that?

18               MR. JENSEN:     Yeah.   That’d be great.

19               UNIDENTIFIED SPEAKER:      Those guys that were in

20   here talking to you, they said that you might want to, so

21   I’ll take you down and you got water and everything.             If you

22   need to hit the head real quick, we can do that.            Sound

23   good?

24               MR. JENSEN:     Yeah.

25               UNIDENTIFIED SPEAKER:      All right.     Perfect.

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 1               (Unidentified Speaker and Mr. Jensen leave the

 2   room.)

 3               (Mr. Jensen enters the room.)

 4               UNIDENTIFIED SPEAKER:       I’ll find out where they’re

 5   at and let them know that you’re back.

 6               MR. JENSEN:     Okay.

 7               UNIDENTIFIED SPEAKER:       Did you need to go to

 8   the -- I didn’t ask when you were --

 9               MR. JENSEN:     I’m good.

10               UNIDENTIFIED SPEAKER:       You’re good?    All right.

11               (Special Agent Johnson and Special Agent James

12   enter the room.)

13               SA JOHNSON:     All right.    What's going on man?

14               SA JAMES:    (Indiscernible) we get our smoke break

15   taken care of?

16               MR. JENSEN:     Yeah.

17               SA JAMES:    Good deal.

18               MR. JENSEN:     Thanks.

19               SA JAMES:    Good deal.

20               SA JOHNSON:     (Indiscernible) no problem.

21               SA JAMES:    All right.     For the recording, this is

22   Special Agent Scott James.        Today is January 8th, 2021.    The

23   time is approximately --

24               SA JOHNSON:     10:58.

25               SA JAMES:    -- 10:58.    This is the resumption of a

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 1   voluntary, non-custodial interview.         And, actually, before

 2   we get too far down the road, was there anything that you

 3   had discussed with the detective out there when you were

 4   smoking that you wanted to make sure made it on the record

 5   for our recording?

 6               MR. JENSEN:     Did I say something to him that I

 7   didn't say to you guys?

 8                                 EXAMINATION

 9               BY SA JAMES:

10         Q.    Oh, I don't know.       I just -- I didn't know what

11   you guys covered, and I --

12         A.    Oh, I think I just basically was telling him the

13   same thing I told you guys.

14         Q.    Okay.   Yeah, I just want to make sure that we

15   didn't miss anything.

16         A.    Oh, yeah, I didn't tell him anything different.

17               SA JOHNSON:     Hat on, is still pretty chilly out

18   there?

19               MR. JENSEN:     No, I'm used to it.      I work outside.

20               SA JOHNSON:     Yeah, got you.

21               MR. JENSEN:     All winter I usually go with just --

22               SA JOHNSON:     Yeah.

23               MR. JENSEN:     -- jeans and a sweatshirt.

24               BY SA JOHNSON:

25         Q.    (Indiscernible).      Sweet.    So kind of want to -- we

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 1   got a couple just questions that we want to circle back on a

 2   couple different things here, so it may not be, you know,

 3   from a continuity standpoint of a storyline, the best.

 4   But --

 5         A.    (Indiscernible).

 6         Q.    -- just a few follow-up questions that we have

 7   just right off the bat.        So before we stepped off, we were

 8   talking about, you know, the different vehicles and

 9   everything like that.       So you told me that you took your

10   wife's GMC Acadia out there, and I think, and I want to make

11   sure, your wife's name is April, right?

12         A.    Mm-hmm.

13         Q.    Okay.   Same last name?

14         A.    Yep.

15         Q.    Jensen?

16         A.    Yeah.

17         Q.    Okay.   You guys left, you and your friend, and

18   what's your friend's name?

19         A.    Anthony (ph.).

20         Q.    Anthony.     And what's Anthony's last name?

21         A.                .

22         Q.    Can you spell that for me?

23         A.

24         Q.

25         A.    Mm-hmm.

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 1           Q.   Okay.   And you guys have known each other for a

 2   while, right?

 3           A.   I've known him since I was 14.

 4           Q.   Okay.

 5           A.   When I fought Tom for trying to, you know, all

 6   those years.

 7           Q.   Yeah.

 8           A.   He took me and just dumped me at my mom's house,

 9   and then my next court thing with the juvenile whatever,

10   they're like, oh, you're old enough, you can live with your

11   mom now.     And that was the year I got into drugs, I got into

12   meth.    I was a mess.

13           Q.   Yeah, yeah.

14           A.   I was a little kid who had been destroyed, and I

15   didn't care, you know?       I'll do whatever and I got into --

16   his upbringing was horrible.        His mom and -- his dad, I

17   caught his dad trying to break into my house, so I wouldn't

18   let him in my house anymore.

19           Q.   Yeah.

20           A.   And the night he committed suicide, he had come to

21   my house to drop Anthony off to come visit, and he just

22   wanted to come in to -- and I'm like, you stay out in the

23   car.

24           Q.   Yeah.

25           A.   He left and killed himself that night.         It wasn't

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 1   my fault, you know?

 2         Q.    No.   Yeah.

 3         A.    But, anyway, his mom is who I was doing meth with

 4   as a little kid, and he was a couple years younger than me,

 5   so he wasn't doing those drugs, but he turned out bad

 6   because of his upbringing.        And that poor guy has screwed

 7   himself over.     But then, you know, how when you're a

 8   criminal, you get stuck in a rut and you can't ever get out.

 9   And the second you start to do good, you end up -- something

10   happens.

11         Q.    Yeah.

12         A.    That's been his whole life.

13         Q.    Yeah.

14         A.    I have bought that guy tents, sleeping bags.         I

15   have went, drove him out to different forest locations to

16   live for years.      He has two twin brothers that are just --

17   same way.    They're destroyed.      And I think I just bonded

18   with him because somewhere deep down I feel like what

19   happened to me, it's easier for me to want to help other

20   people.

21         Q.    Yeah.

22         A.    You know?     And makes me feel better.

23         Q.    Right.

24         A.    So I'm kind of like his guardian angel in a way.

25   Anytime he's down and out, I always come to the rescue.

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 1         Q.     Yeah.    Probably listen to you like a big brother

 2   almost, right?

 3         A.     Yeah.

 4         Q.     Yeah.    Okay.   So you and Anthony, when you guys

 5   drove out there in the Acadia, you guys left Tuesday

 6   afternoon (indiscernible) --

 7         A.     5 o'clock.

 8         Q.     -- probably around like 5 o'clock?

 9         A.     I told him I'm leaving at 5.

10         Q.     (Indiscernible).

11         A.     If you're not at my house --

12         Q.     Yep.

13         A.     -- I'm leaving without you because --

14         Q.     Yeah.

15         A.     -- I had a time limit to get to that Trump rally

16   at 11 o'clock.

17         Q.     Yeah.

18         A.     And my GPS went with me leaving at 5 o'clock

19   showed me getting there like a half an hour before the

20   rally.     Then I kept stopping to get gas.

21         Q.     Yeah.

22         A.     And my time kept moving, and I'm like, oh, God,

23   you know, so.       But we made it only because Trump was late.

24         Q.     Yeah.

25         A.     So --

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 1           Q.   Yeah.

 2                SA JAMES:    Okay.

 3           Q.   So when you guys drove on the way out there, when

 4   you guys finally got into D.C., we know -- you mentioned the

 5   Capitol Hilton, the hotel that you guys booked.           Did you

 6   guys go straight to the hotel?

 7           A.   We went straight to the hotel, and then I couldn't

 8   have check in till like 4 o'clock.

 9           Q.   Okay.

10           A.   But I wanted to figure out where my parking was

11   because I didn't know where to park out there.

12           Q.   Yeah.

13           A.   And there was no parking ramp.       So all I was

14   really doing was going inside to be like where do I park?

15           Q.   Okay.

16           A.   And they're like, oh, you can check in early, you

17   know?    So, okay, I paid to check in early, but I never went

18   to my room.

19           Q.   Okay.

20           A.   I just did the valet to turn my car in.

21           Q.   Got you.

22           A.   And then we walked to the rally.

23           Q.   Okay.

24           A.   And then after the rally, he was just like I want

25   to go to the room.       Like he didn't want to go, you know, he

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 1   was like not feeling it.

 2         Q.    Yeah.

 3               SA JAMES:     Yeah.

 4         A.    And I'm like we came this far and you're not going

 5   to go with, you know, something's about to -- I kept telling

 6   him something is going to happen.         This is why I'm going to

 7   out there, you know?       And then, yeah, he just -- he was like

 8   I just want to go to my room.

 9         Q.    Okay.   So at the point where you guys kind of

10   disembarked from one another after the rally, you started

11   towards the Capitol, he goes back to the hotel.

12         A.    Mm-hmm.

13         Q.    Did he come back to Iowa with you?         Or --

14         A.    Mm-hmm.

15         Q.    Yeah, he did?

16         A.    Yeah.

17         Q.    Okay.   So that kind of answers more questions.       So

18   let's go back to when you guys -- basically when the group

19   gets to the Capitol.       You mentioned that you guys got up to,

20   you know, a door or a window on the west side I think,

21   something like that.

22         A.    Yep.

23         Q.    And you got there.      And then you mentioned that

24   there were some people with backpacks --

25         A.    Mm-hmm.

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 1         Q.     -- that started pulling weapons out of the

 2   backpacks.

 3         A.     Like you pull a -- I don't know what it -- because

 4   he just -- he hit it so fast and it broke so quick.

 5         Q.     Yeah.

 6         A.     You know?

 7         Q.     So he pulled out like a club or something --

 8         A.     A club or something.

 9         Q.     -- like that?    Okay.

10         A.     Maybe a small steel club.      I don't know --

11         Q.     Okay.

12         A.     -- exactly because he swung it so fast and I just

13   seen it in the swing, and all I can tell you was it was

14   about that long.

15         Q.     Okay.

16         A.     I can't tell you anything else.         Like --

17         Q.     And on that first --

18         A.     Can't tell you what color it was even.

19         Q.     Yeah.

20         A.     You know?   And I just --

21         Q.     Got you.

22         A.     So.

23         Q.     On that first hit -- and was it a window or was it

24   like a window in a door that --

25         A.     No, it was the window off --

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 1         Q.     It was the window.

 2         A.     -- to the right of the door.

 3         Q.     Okay.

 4         A.     Yeah.

 5         Q.     So he hits that, it breaks pretty quick.

 6         A.     Mm-hmm.

 7         Q.     Did anybody ever try to stop him?          Like, hey,

 8   don't do that?       Or (indiscernible) --

 9         A.     No, there was nobody there.

10         Q.     Nobody there.

11         A.     They had all gone inside the building.

12         Q.     Okay.    How about like any of the other people

13   around you, like any of the protestors, did anybody ever

14   say, hey, man, like that's not why we're here or anything

15   like that?

16         A.     Mm-mm.

17         Q.     Okay.    So the window gets broke, what happens

18   after that, did you guys go through the window?

19         A.     I climbed through the window.

20         Q.     You climbed through the window.           Okay.   And

21   then --

22         A.     Because -- basically I climbed through the window,

23   you know, that's what -- I don't know.

24         Q.     Got you.     So just --

25         A.     You know, I just did it.

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 1         Q.    Yeah.   So you were like one of the first ones in

 2   there then?

 3         A.    (Nods head.)

 4         Q.    Okay.   When you got in, did people just follow you

 5   through the window?      Did somebody open the door?        Or --

 6         A.    I don't know.     I --

 7         Q.    Don’t know?

 8         A.    Well, the door wasn't open.        Somebody must of, you

 9   know, climbed through.

10         Q.    Yeah.

11         A.    So I was saying I opened the door, but I didn't

12   really open it.

13         Q.    Yeah.

14         A.    You know?

15         Q.    Got you.

16         A.    I was just telling (indiscernible).

17               SA JAMES:     I need to grab that photo, I'll be

18   right back.

19               SA JOHNSON:     Yeah.

20               MR. JENSEN:     Yeah.

21               SA JOHNSON:     And he's got some photos of you

22   (indiscernible).

23               (Special Agent James leaves the room.)

24               SA JOHNSON:     The guy you were talking about

25   earlier with the blue eyes, so -- and we're going to see if

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 1   that might be him.

 2               MR. JENSEN:     (Indiscernible).

 3               SA JOHNSON:     But, okay, so you go through the

 4   window, and is that where you come into contact with that

 5   one (indiscernible)?

 6               MR. JENSEN:     That first officer.

 7               BY SA JOHNSON:

 8         Q.    Okay.

 9         A.    Yeah, just the one.

10         Q.    Got you.

11         A.    Yep.

12         Q.    All right.    And I mean, you know, when it kind

13   of -- when you got there towards the (indiscernible), you

14   know, and you saw it get broke --

15               (Special Agent James enters the room.)

16         Q.    -- kind of walk me through, like in your mind what

17   was it that you wanted to do, what was the reasoning for,

18   hey, I think I need to go in now?

19         A.    I thought it was just a whole crowd.         I thought

20   that's what we were doing, you know?         At that point -- I

21   don't know, because it changed from a let's peacefully go up

22   there like Trump said to it was like a play to me.

23         Q.    Yeah.

24         A.    It really was.     Like how were we, you know, like

25   the -- it was breached immediately, and all the cops were --

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 1   like I said, throwing the flash bangs or whatever not by

 2   anybody.    They were all off in different directions where

 3   there wasn't really anybody standing.          And then I seen this

 4   wall, I'm like, ooh, I could climb that, you know?               So I

 5   climbed the wall and I stood on the rail, right?            And I'm

 6   just like, yeah, doing that, and I'm all excited.

 7         Q.    Yeah.

 8         A.    And then this crowd just shoved all the cops up

 9   the stairs.     And that's when I jumped down and went with

10   that crowd.     And, you know, because I wanted to be up there

11   in front.    And that dude busted the window out, and then I

12   went through the window.       And I wasn't with that guy, I

13   don't know who that person was.

14         Q.    Yeah.

15         A.    You know?

16         Q.    Right.

17         A.    And I jumped through that window.         And then there

18   was just the one cop there, and I'm just like, you know, I'm

19   not -- we're not here for you.        I'm holding my arms like,

20   you know?

21         Q.    Yeah.

22         A.    And then he showed a lot of fear and started

23   running, which was weird, so I started running, you know?

24   And then he goes up those stairs and I run upstairs, but

25   when he stopped, if you notice I stopped on the stairs

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 1   because I'm not there to --

 2         Q.    Yeah.

 3         A.    -- hurt you.

 4         Q.    Right.

 5         A.    You know?    And I kept trying to explain that.          And

 6   I did even -- when he took his knee, I'm like, you know,

 7   because I was just like put that away, you know, because

 8   we're not here for you.       We're here for them.      Go do your

 9   job, go in there, arrest them guys.         You know, it's so --

10   because, you know, I was just letting my emotions out.           I

11   got so --

12         Q.    Yeah.

13         A.    -- into the moment.

14         Q.    Oh, yeah.

15         A.    You know?

16         Q.    I can imagine.     Okay.

17         A.    So.

18         Q.    Got you.    So you guys kind of have that -- you

19   encounter him, then you guys kind of make your way, you

20   know, eventually basically up to outside the door area of

21   like the floor of the house, right?         Something

22   (indiscernible)?

23         A.    Yeah.    Maybe.

24         Q.    Okay.

25         A.    I don't know exactly where I was at.

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 1           Q.   (Indiscernible).

 2           A.   All I know is I went in that door, around those

 3   stairs, and up one -- more stairs and there was a room --

 4           Q.   Okay.

 5           A.   -- with all the cops.

 6           Q.   Got you.

 7           A.   And the military guys with a door behind them.

 8           Q.   Okay.

 9           A.   And that's where -- I didn't push any of the cops.

10   I didn't, you know, I stood there yelling what I wanted

11   done.

12           Q.   Yeah.

13           A.   Want you to go do your jobs.       And that's when they

14   started explaining to me, we have orders, we have families,

15   we can't just do that, you know?         And I'm like you guys got

16   the power, you guys are the cops, do it.          You know, like --

17   and it just seems to me like our FBI is corrupt, our CIA is

18   corrupt.     And it's like -- and I know you guys are FBI, and

19   I'm not saying you guys are corrupt.

20           Q.   (Indiscernible).

21                SA JAMES:    Right.

22           A.   I just -- it's hard to trust anything anymore.       It

23   really is.

24           Q.   Right.

25           A.   And all this information, and Trump's taking down

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 1   all these people, you know?        And -- well, firing them or

 2   whatever, you know?       Like Brennan, Clapper, you know, that

 3   guy that I hate with his girlfriend, I can't remember their

 4   names.     Those texting back and forth.       But they were all

 5   like top, you know, members, they're high up and stuff.

 6         Q.     Yeah.

 7         A.     And you saw that they were out to destroy Trump,

 8   and they were members of our, you know, Central Intelligence

 9   or our FBI, you know?       And it just kind of scary to see that

10   those kind of people were in power in the first place.

11         Q.     Right.

12                SA JAMES:    Yeah.

13         A.     And then the more you learn, you learn that a lot

14   of these people have been placed in power by somebody higher

15   up.   And I'm like trying to chase this trail that, you know,

16   and it's like pointing to China now.          And like China's

17   bought out through Jeffrey Epstein, you know, with this

18   blackmail on everybody.        Everybody has something against

19   them it seems like.

20         Q.     Yeah.

21         A.     And they're controlled.      And so that's why with

22   this, you know, why didn't we get $2,000, but, yet, they

23   want to send all this money to all these other places and

24   give us 600 bucks.       But, yet, we couldn't come up with $5

25   billion or whatever for a wall.         What was so hard about

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 1   that?    But you what to give all this money away for a study

 2   on gender, you know, in another country.           I mean there was

 3   some crazy stuff.        And it's like Trump wasn't for any of --

 4   they sneak stuff in these bills.          They have these 10,000

 5   page things when just -- why do they do that?           You know what

 6   I mean?      How hard is it to just -- let's go over one issue

 7   at a time and not throw in all these little hidden things

 8   that --

 9           Q.    Yeah.

10           A.    -- people don't have to time to --

11           Q.    Right.

12           A.    -- look at.    They just vote.     And it's like --

13   it's so obviously corrupt, it's sickening.

14           Q.    Yeah.

15           A.    You know?    And it's like I feel like I'm the only

16   one that sees it, and everybody's sheep that doesn't know,

17   you know?

18           Q.    Yeah.

19           A.    That's what I feel like.

20                 SA JAMES:     Yeah.

21           Q.    Okay.

22           A.    So.

23                 SA JAMES:     Sounds frustrating.

24                 SA JOHNSON:    Yeah.

25                 MR. JENSEN:    Yeah.

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 1               SA JOHNSON:     Truth.

 2               MR. JENSEN:     Yeah.

 3               BY SA JOHNSON:

 4         Q.    Because --

 5         A.    And I'm the wacko.

 6         Q.    No.

 7         A.    You know?    Well, my coworkers -- I have a lot of

 8   coworkers, I'm the conspiracy nut at work.

 9         Q.    Got you.    So once you're in the Capitol, and

10   earlier you kind of talked about at some point it seemed

11   like the Capitol Police, they closed off all the doors and

12   everybody was inside.

13         A.    Traps us in the middle room.

14         Q.    Or like you guys are all getting arrested.

15         A.    Yep.

16         Q.    And then they start, you know, looking people up

17   or whatever.      But they had you, they kind of took you out,

18   was it through a side door, or kind of walk me through that?

19   What was that?

20         A.    Well, I think I went back out -- the first time

21   they took me down some hallways out some door.           And then

22   when I went in through the other side -- because I went

23   around to the east side once they let me out, I went -- and

24   I was just walking.      I walked up and they were beating on

25   that window, and so I went up to that door.           And that door

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 1   got opened, and so I went in again.

 2           Q.   Okay.

 3           A.   Like a dumbass.    But I wasn't pushing cops or

 4   nothing.     Like there's probably video of me, I'm just

 5   standing off to the side in there really.

 6           Q.   Got you.

 7           A.   And then all of a sudden we all got pushed into

 8   that middle room, you know, where the doom was.           And they

 9   were like arresting everybody, you're all staying.               You're

10   all going to -- and then this old man walks up and just

11   looks at me like two feet away.

12                SA JAMES:   Is this the guy?

13                MR. JENSEN:     I don't know.   I don't think so.

14                SA JAMES:   Or maybe this guy?

15                MR. JENSEN:     Ooh, maybe that is him.

16                BY SA JAMES:

17           Q.   Or maybe this guy right here?

18           A.   His eyes were a lot brighter than that though.

19   Okay.    So there's a cop over here.       There was a guy over

20   here that was really nice to me.         And then this guy was

21   really cool.     I don't -- was he up here?

22           Q.   I don't know.

23           A.   Is that him?

24           Q.   I don't know about that.

25           A.   I don't think he's up there.

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 1          Q.    That's the guy that resigned.

 2          A.    Okay.    That might be him.    I'm pretty sure that is

 3   him.   He seemed older though.        And this is the -- this is

 4   where they threw the smoke bomb, the photographers threw

 5   smoke bombs on the floor behind me.         That's smoke bombs.

 6   That fake.

 7          Q.    Okay.

 8          A.    And, yeah, you can see I don't have my fist

 9   clenched.

10          Q.    Right.

11          A.    You see that my hands are open.          I was not

12   aggressive towards them whatsoever, you know?            And is that

13   the most recent picture or is that an old picture?

14          Q.    I don't know.     I don't know when it was taken.         So

15   it sounds to me like --

16          A.    He didn’t have his hat on (indiscernible).

17          Q.    Okay.

18          A.    So (indiscernible).

19          Q.    Yeah, so it makes it tough.

20          A.    Yeah.

21          Q.    Sounds to me like -- I mean, you know, you don't

22   consider yourself to have been the leader of any of what was

23   going on there.

24          A.    Mm-mm.

25          Q.    But I wonder do you think the other people that

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 1   were there that day, do you think they considered you a

 2   leader?

 3         A.    No.

 4         Q.    So you don't think anybody was like --

 5         A.    No, there was --

 6         Q.    -- like following your lead to --

 7         A.    No.   No, absolutely not.

 8         Q.    Okay.

 9         A.    Everybody was doing their own thing.

10         Q.    Okay.

11         A.    I wasn't being a leader for anybody.         I was being

12   my own leader --

13         Q.    Yeah.

14         A.    -- is what I was doing.       I prayed to God to guide

15   me in the right way, and I felt what I was doing was what I

16   was supposed do.

17         Q.    Yeah.

18         A.    You know?

19         Q.    Well, the only reason I ask is that, you know,

20   people that -- the people that we talk to later are very

21   likely to -- and I don't -- they might make some

22   characterizations and, you know, it'd just be --

23         A.    That's fine.

24         Q.    You know, it's helpful for us to be able to say,

25   hey, listen, he didn't consider himself a leader.            Nobody

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 1   else considered him a leader.         I mean it's just --

 2         A.     No.

 3         Q.     I just bring it up because it's -- I mean it's

 4   relevant to the discussion.

 5         A.     Right.

 6                SA JOHNSON:    Kind of on that topic, too, I mean

 7   was there anybody at the protest that you would have

 8   considered maybe, hey, this was a person that was kind of

 9   being the leader --

10                MR. JENSEN:    No.

11                SA JOHNSON:    -- when things went kind of a little

12   bit south?

13                MR. JENSEN:    No.

14                BY SA JOHNSON:

15         Q.     No?   Okay.   And we talked a little bit too about,

16   you know, anybody else maybe from Iowa, you know, that you

17   recognized.     Didn't recognize anybody.

18         A.     No.

19         Q.     Was there anybody else?

20         A.     I was by myself.

21         Q.     Yeah.

22         A.     I was all by myself right there.

23         Q.     Okay.    Was there anybody else maybe in the crowd

24   that through social media or anything else that you saw and

25   are like, hey, I know the name of that guy?           Anything like

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 1   that?

 2           A.   No.

 3           Q.   I mean outside of, you know, (indiscernible).

 4           A.   No.   But I was looking.

 5           Q.   Yeah.

 6           A.   I was looking.

 7                SA JAMES:    Sure.

 8           A.   I was trying to find anybody I could recognize.

 9           Q.   Right.

10           A.   Like that JFK-looking guy, I can't think of his

11   name, it's drawing a blank.

12           Q.   Yeah.

13           A.   But I was kind of hoping to see him there.          I

14   didn't see him.       No, I didn't see anybody I recognized.

15           Q.   Got you.

16           A.   But, yeah, I was definitely trying to see if there

17   was any faces that I recognized.

18           Q.   Yeah.    Okay.

19           A.   Because I would of wanted to get a selfie with

20   those people.

21           Q.   Right.

22           A.   You know?

23           Q.   Okay.    And then just to make sure that I

24   understand you correct, right?         So we'll call it the west

25   door and east door, right?        So you went into the west door

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 1   which is where the first, you know, window got broke.                 You

 2   go in, kind of go up the stairs.

 3         A.     Yeah.

 4         Q.     And then you go back out that same window,

 5   correct?

 6         A.     Mm-mm.

 7         Q.     Does it sound like you go back outside?

 8         A.     From this room -- no.      From --

 9         Q.     You stayed inside the whole time.

10         A.     Okay.    So what happened here is there's another

11   hole over here.

12         Q.     Okay.

13         A.     Okay?    And there was a guy with horns and he had a

14   megaphone.     And he was pumping them people up using that

15   microphone.     And the cops kept asking him to stop.            You're

16   riling these people up, you know?         They didn't ask me to

17   stop doing nothing because I didn't do nothing to, you know,

18   I realize I went in, I realize what I did.

19         Q.     Right.

20         A.     And I take full responsibility for that.            So

21   that's a major thing, I understand that.          But I just was in

22   the heat of the moment.        I did not preplan nothing.        I am

23   not a leader.     I am just a hardcore patriot.        I am a

24   diehard -- I believe all this stuff to be true, and I feel

25   like Trump's just got the absolute shaft from everything

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 1   around, our own government, the media.           I started telling

 2   people three years ago, four years ago, do you guys notice

 3   every day -- I couldn't even listen to the radio or TV

 4   because being a Trump supporter, I got sick of everything I

 5   turned around, they were slamming him saying something bad.

 6   It was always negative, you know?

 7                  And I had to explain to my kids, you know, if the

 8   TV tells you blue is an ugly color and it tells you that a

 9   thousand times, you're going to believe that blue is an ugly

10   color.       And you're going to think it's your thought, but

11   it's not.      You know, you hate blue because subliminally, you

12   were told to hate blue.         And I have to explain that to my

13   kids.

14                  My kids hate Trump.     They think he's a racist, and

15   I'd be like why is he a racist?          I don't know.   And, you

16   know, it's like, well, why do you think that?            What do you

17   have to show me that he is?         They didn't have nothing.    And

18   that's what I had to keep explaining to them.            And so my

19   family avoids me, they don't like my posts.            They, you know,

20   so I don't know, we kind of stay separate --

21           Q.     Yeah.

22           A.     -- on that.   And I don't know.     I don't even know

23   if my wife's a Trump support, you know?

24           Q.     Yeah.

25           A.     She has listened to my bull crap for two years and

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 1   she just rolls her eyes.

 2         Q.    Yeah.

 3         A.    (Indiscernible) would you just listen to me.          Like

 4   this is real.     Like give me my phone and I can start showing

 5   you guys everything, you know what I mean?           I mean --

 6         Q.    Yeah.

 7         A.    There's a lot out there.

 8         Q.    Yeah.

 9         A.    And it all started from that WikiLeaks drop, you

10   know, four years ago.

11         Q.    Okay.

12         A.    And then Q came along.       And there was things that

13   happened in the beginning that Q said that came true.            And

14   everything he always said happened real shortly after, like

15   certain things.     Like, hey, watch for those cards at the

16   funeral, you know?      Have you looked at that video?

17               SA JAMES:    I have not.

18               SA JOHNSON:     Not yet.

19               MR. JENSEN:     Go to --

20               SA JOHNSON:     We will.

21               MR. JENSEN:     -- Trump --

22               SA JAMES:    Oh, we will.

23               MR. JENSEN:     Or not Trump.    George Bush Senior's

24   funeral.    Right when they go to push the casket away, they

25   pan that camera right on to George Bush, and Jeb, and his

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 1   mom in the middle.

 2                SA JOHNSON:    Yep.

 3                MR. JENSEN:    And you see Jeb's face.      And you see

 4   George like he already knew, he didn't even, you know, have

 5   to look.    And then you see Mike Pence's wife and she's got

 6   this, you know, like -- or no, no, not Mike Pence, Joe

 7   Biden's wife.     And she opened up, like what's this, you

 8   know?    And then you see Hillary pull it out and look at it

 9   and put it away real quick.         So it's there.

10                SA JOHNSON:    Yeah.

11                MR. JENSEN:    You guys should look at that.

12   Seriously.

13                SA JOHNSON:    Yeah.

14                SA JAMES:   Check it out.

15                MR. JENSEN:    And Q pointed that out before his

16   death.    And then, you know, I've learned about a Rommel

17   death.    A Rommel death is where you execute somebody and say

18   they died of natural causes to keep the name good with the

19   people, but really were like executed because of, you know,

20   whatever you did.

21                SA JOHNSON:    Right.

22                MR. JENSEN:    But they -- so like Rommel death is

23   something I learned about.         And --

24                SA JAMES:   The Nazi general Erwin Rommel?

25                MR. JENSEN:    Yeah.

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 1               SA JAMES:    Yeah.

 2               MR. JENSEN:    And then military tribunals.          I think

 3   it came from Q, I'm pretty sure.        But like John McCain was

 4   executed I think, and he was tied into ISIS somehow.             And

 5   then -- but like see these are just things that like there's

 6   a lot of stuff, like Michelle Obama being a man, you know?

 7   I'm not saying I believe that because there's so many

 8   different things.     But a lot of people say Michelle Obama's

 9   a man and that George Bush Senior died from a Rommel Death

10   for a military tribunal.

11               SA JOHNSON:    Okay.

12               MR. JENSEN:    Along with John McCain.       And, you

13   know, it's funny how he decided -- John McCain decides he

14   doesn't want to fight cancer and then just dies the next day

15   or, you know?     And then I know George Bush was old, so it

16   sounds like he died of natural causes, you know?

17               SA JAMES:    Brain tumor.

18               MR. JENSEN:    But Q led me to believe or Q directed

19   me to certain people, you know, that I continued to follow.

20   So three days, three nights Eden (ph.), that one I told you

21   on Twitter.

22               SA JOHNSON:    Yeah.

23               MR. JENSEN:    That's my main one I follow.          And

24   then I'll go to the JFK one.       And then I can give you my

25   thing for Twitter so you can sign in under my name if you

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 1   want.

 2                SA JOHNSON:    Yeah.

 3                MR. JENSEN:    So.

 4                BY SA JOHNSON:

 5           Q.   And I was going to say, do you have your phone

 6   or --

 7           A.   Mm-mm.

 8           Q.   You don’t have your phone?

 9           A.   No.   I shut my phone off.

10           Q.   okay.

11           A.   I deleted every app because I was freaked out once

12   I started getting messages that I'm a traitor and I'm going

13   to jail.     I was just trying to come home to go back to my

14   normal job and my family.

15           Q.   Yeah.

16           A.   You know?    And next thing I know, my phone's

17   blowing up you're famous.         You know, I'm like oh, God, you

18   know?

19           Q.   So did --

20           A.   And I knew -- I kind of knew when the -- that guy

21   right there, I think that was the Chinese photographer.

22   This guy, so like a White House or a press, whatever, you

23   know, for the Capitol.       And, anyway, when they threw --

24   okay, so when they threw the smoke bombs on the floor,

25   they're like don't breathe it in, who knows what it was, who

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 1   did that.    And so this is where I took a step forward.

 2   Everybody else backed up away from the smoke, but I was

 3   literally in the smoke.       So their clear air was where they

 4   were.    All I was doing was walking forward at this point to

 5   get in the fresh air.

 6           Q.   Got you.

 7           A.   So.

 8           Q.   Okay.   So with your phone then right now, is your

 9   phone at home, is it in --

10           A.   My phone's at home.

11           Q.   Your phone's at home.

12                SA JAMES:   Okay.

13           A.   What I did was, you know, so according to KCCI,

14   like the FBI's looking for me, I'm top most -- people are

15   telling me I'm like the most wanted in America and all this.

16   And so I was scared so I shut my phone off because now at

17   this point I just need to get home to see my family.

18           Q.   Yeah.

19                SA JAMES:   Yeah.

20           A.   And then when I -- I went up my road that I live

21   on, I know all my neighbors because I live on an area where

22   there's no traffic, you know?        And there was a white

23   vehicle, all blacked out windows.        And I'm like oh, my God.

24   Like, you know, they are, you know, they're here.           So I came

25   around the -- the cop was parked on the only street that

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 1   comes in to my house.      I have to take that street.       And so I

 2   don't know if it was a cop or what it was, but it was a

 3   white vehicle, all windows completely blacked out.           And so I

 4   drove in, pulled in my garage.        And then Anthony hopped in

 5   his truck and drove off.       And then I started walking from

 6   that point.    I left my car at home because it was my wife's

 7   car.   I got to get it back to her.

 8          Q.   Yeah.

 9          A.   So then nobody was in the house.        So I started

10   walking.    And I walked to where my wife was staying at a

11   friend's right now because she's scared to be at home.           And

12   so I walked over there, and I woke her up on the couch.            And

13   she's just like get out of here, you know, all mad at me.

14   And I'm like can I have a hug, a kiss?

15          Q.   Yeah.

16          A.   And she gave me a hug and kiss, and was like go

17   take care of that, you know?       So I walked from my house all

18   the way here.

19          Q.   Okay.

20          A.   On foot.

21          Q.   Okay.

22               SA JAMES:    How far is that?

23               MR. JENSEN:    Six miles maybe.

24               SA JOHNSON:    Wow.

25               MR. JENSEN:    Gave me a lot of time to think.

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 1               SA JOHNSON:    Yeah.

 2               SA JAMES:    Yeah, I'll bet.

 3               SA JOHNSON:    So in that timeline, I mean when did

 4   you get back here to Des Moines?        Was that like early this

 5   morning?    Yesterday?

 6               MR. JENSEN:    No, this morning because it's --

 7               SA JOHNSON:    This morning.     You got back this

 8   morning.

 9               MR. JENSEN:    When I left the Capitol, I was so

10   tired because I had been up since that day before.           I got up

11   on Tuesday and I went to work, and then I drove all the way

12   to Washington so that I could be there in time for that

13   rally.   So at this point -- I even told these guys, I was

14   like I've been up for like a day and a half, you know?           And,

15   anyways, so I left here and I went back to my motel room and

16   checked in at like 5 o'clock or 6 o'clock.          I slept until

17   like 6 o'clock this morning.

18               SA JOHNSON:    Okay.

19               MR. JENSEN:    And was like, all right, let's go,

20   you know?

21               SA JAMES:    Did you take anything to help keep you

22   awake?

23               MR. JENSEN:    Red Bull.    Let's of Red Bulls.      You

24   can drug test me, I don't do meth.         I promise you that.

25               SA JAMES:    Well, I just --

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 1               MR. JENSEN:    No.

 2               SA JAMES:    Only reason I ask is because I mean

 3   your frame of mind at that time, I mean it is relevant, so.

 4               MR. JENSEN:    Right.    No, I --

 5               SA JAMES:    Don't imagine I could make that drive

 6   without a few Red Bulls myself.

 7               MR. JENSEN:    Yeah.

 8               SA JOHNSON:    So you got back to the hotel on --

 9   what would that have been, Wednesday evening or early

10   Thursday morning at like 5 a.m. after the protest?

11               MR. JENSEN:    Right after this protest?

12               SA JOHNSON:    Mm-hmm.

13               MR. JENSEN:    And then --

14               BY SA JOHNSON:

15         Q.    What time did you get back to the hotel?

16         A.    I didn't have my phone.

17         Q.    Okay.

18         A.    So I couldn't find my room.

19         Q.    Got you.

20         A.    So I don’t really know what time it is.         That's

21   why I was saying --

22         Q.    Yeah.

23         A.    -- like 5, 6 o'clock, you know?

24         Q.    Okay.

25         A.    -- because I never did have a timeframe because my

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 1   phone was dead.

 2         Q.    Got you.

 3         A.    All I know is that I walked for so many blocks,

 4   and all I knew was that I had parked on L Street.           And I

 5   finally find L Street, and then I walked up and down L

 6   Street and it was like forever --

 7         Q.    Yeah.

 8         A.    -- until I finally found something I recognized,

 9   you know?    And I went straight into my room and passed out.

10         Q.    Yeah.

11         A.    I was tired.

12         Q.    I bet.

13         A.    And when I woke up, Anthony was smoking cigarettes

14   in the bathroom, and I flipped out because I'm the one

15   paying for the room.      And that's really just -- and his

16   excuse was, well, they wouldn't let us outside.           There's a

17   curfew.    That's not my problem, dude.       I paid for the room.

18   And, you know --

19         Q.    Yeah.

20         A.    -- you're smoking cigarettes in the bathroom.           So

21   I was -- I woke up pissed --

22         Q.    Yeah.

23         A.    -- because -- and I found out he ordered a movie

24   when I went to check out, so to top it off.          So I'm already

25   mad at him.

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 1           Q.   Yeah, yeah.

 2           A.   Excuse me.

 3                SA JAMES:     (Indiscernible).

 4                BY SA JOHNSON:

 5           A.   But, yeah, so I woke up, woke up pissed off

 6   because he was smoking.       And so I was like get your shit and

 7   get out, you know, this is my room.         And so he grabbed his

 8   little bag.    He went and just sat in the lobby and he's

 9   playing on his phone, you know?

10                And I go in the bathroom, and I'm like trying to

11   hide the evidence of cigarette smoke.         You know, I'm taking

12   all the cigarette butts that he used like a little sauce cup

13   for, and it's all full.       And I like put them in the toilet,

14   and I wiped out the little sauce cup.         And rinsed all the

15   ashes off everything.       And so I was pretty pissed off about

16   that.    And then I went down to check out, and then I got my

17   valet which took like 15, 20 minutes or whatever.

18           Q.   Yeah.

19           A.   And I walked back in there like are you coming?

20   He was like are you sure I can go with, you know?           And I'm

21   like, let's go.

22           Q.   Yeah.

23                SA JAMES:     What's a good phone number for Anthony?

24                MR. JENSEN:    I don't know.     I'd have to have my

25   phone for that.

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 1               SA JAMES:    Is there a better way to -- is there a

 2   good way to find him other than -- I mean --

 3               MR. JENSEN:    I don't know where he lives.

 4               SA JAMES:    I see.

 5               MR. JENSEN:    Yeah.

 6               SA JOHNSON:    Okay.   You said he drives a truck?

 7               MR. JENSEN:    He never has a permanent home.        He's

 8   got a yellow truck.

 9               SA JOHNSON:    Yellow truck.

10               MR. JENSEN:    Yeah.

11               BY SA JOHNSON:

12         Q.    Ford, Dodge, anything particular that you know of?

13         A.    Yellow beat up truck.

14         Q.    Okay.

15         A.    Yeah, I don't know.

16         Q.    Okay.    That's all right.

17         A.    I never really paid attention, so.

18         Q.    Yeah.    No, that's cool.

19         A.    It's a small truck.

20         Q.    Small.

21               SA JAMES:    Yeah?

22         A.    Yeah.

23         Q.    Okay.

24         A.    It's not a full-size truck.

25         Q.    Okay.    So you guys left D.C. this morning?

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 1           A.   This morning.

 2           Q.   About what time this morning if you had to

 3   ballpark it?

 4           A.   7:30.

 5           Q.   Okay.

 6           A.   I wanted to get back on the road just in case I

 7   could make it to work for Friday.

 8           Q.   Okay.

 9           A.   And that was if -- because my boss told me --

10   because I was like I'll be back Friday, you know, and he's

11   trying to tell me I have to quarantine after being around.

12   So my goal was to get back by Thursday night --

13           Q.   Got you.

14           A.   -- so that I could call him and go back to work

15   for the day if he was going to allow that.

16           Q.   Okay.

17           A.   That was what I was trying to do.

18           Q.   Got you.   Okay.   And you mentioned you've got a

19   truck right now, too, so are you staying at your place right

20   now, or where are you going to be staying?           Do you know

21   or --

22           A.   I'd like to go home.

23           Q.   Yeah.

24           A.   That's where I'd like to go.      And as long as it's

25   safe.    I'm kind of scared I'm a target right now by a lot of

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 1   Antifa or some sheeple, you know?

 2           Q.   Okay.    So plan though is at least to go back home?

 3   Or I mean is there a friend's house, any other place that --

 4           A.   I just want to go home.      I got my dog to take care

 5   of and my family.       And I want my family to feel safe.       If

 6   I'm home --

 7           Q.   Sure.

 8           A.   -- I think they'll come home.

 9           Q.   Okay.

10           A.   I just want to go live my life and not be accused

11   of this crap by KCCI in my hometown, you know?           I realize

12   I'm -- I didn't realize -- I mean I wanted the Q shirt to

13   get recognition, but I didn't realize it was going to --

14   boy, I didn’t think anything out, you know?

15           Q.   Yeah.

16           A.   I didn't plan it.     Like I'm saying, it was all

17   passion of the moment.        And I believed with my heart that I

18   was doing the right thing --

19           Q.   Yeah.

20           A.   -- for our country.

21           Q.   Right.   Okay.    Was there anybody that you met --

22           A.   I think that was him, that guy.

23           Q.   Was there anybody that you met while you were in

24   D.C.?

25           A.   There was a Chinese guy with a mask that said he

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 1   was a doctor or something when I first got into town, and he

 2   kind of walked with us and talked with us for a little

 3   while.

 4         Q.     Okay.

 5         A.     But that was about the only person I talked to.

 6         Q.     Got you.   Any idea where he was from, name,

 7   anything like that?

 8         A.     He lived in D.C.

 9         Q.     He lives in D.C.

10         A.     He was a nurse or a doctor.      He had a -- I don't

11   know what he was, but I know he had an outfit on.

12         Q.     Okay.

13         A.     Like the hospital outfit.

14         Q.     Got you.   Okay.

15         A.     And he only had a half an hour break so he was

16   just walking for that short time.

17         Q.     Okay.

18         A.     And I just happened to be walking by him, and we

19   just starting chatting.

20         Q.     Got you.

21         A.     And he was the one that told me that Obama's was a

22   lot bigger, you know, because like when we first got there,

23   I didn't know where I was going so I walked up to the cops,

24   and it said like Black Lives Matter on the street right

25   there.     And I was like where's the place to go?        Where's the

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 1   place to go?       And the one cop's like this, this is the spot

 2   right here.    Well, that was the spot for all the people to

 3   fight, you know?      And I wanted -- I'm like, well, where are

 4   all the, you know, patriots?        Where are all these million

 5   people I'm supposed to see because I see about a hundred

 6   people right here, you know?        And the other cop was like go

 7   over a block and go down.        So when I asked that cop, that

 8   Chinese guy had, you know, that was wearing his mask, he was

 9   in American, you know?

10           Q.   Yeah.

11           A.   But I got to learn to start calling everybody

12   American, working on it.        But he started walking with me.

13   And so I went that one block over, and we were talking, you

14   know?    So that guy saw the crowd, and even at the same time

15   that I did, and Anthony, and we were all like whoa.              And

16   he's like, oh, Obama's was a lot bigger, you know?

17           Q.   Yeah.

18           A.   So I knew right then I didn't want to talk to that

19   guy anymore.

20           Q.   Got you.

21           A.   So.

22           Q.   Okay.

23           A.   But another thing that Q said is something about

24   like North Korea isn't really ran by Kim Jung Un, you're

25   going to be shocked when you find out who really is.             And

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 1   it's like so -- I don't know.          And there's a lot of hatred

 2   towards Obama.

 3                  So I voted both terms for Obama, and during the

 4   presidency, I thought he was a great president.           The health

 5   thing.       The health thing didn't benefit me and my family

 6   because I had union health insurance.           So I got no benefits

 7   from it, but I was happy that all those people got

 8   insurance, you know?        And so I was happy with him.     And then

 9   I was going to vote for Hillary because I've been a democrat

10   my whole life.

11           Q.     Yeah.

12           A.     And then the WikiLeaks thing happened and I had to

13   start questioning where I was getting my info from.              And

14   that's when I realized, you know, holy cow, I can't vote for

15   this woman.      And then it became -- like I started telling

16   everybody I know about WikiLeaks and everything else back

17   then.    And then that died off when Trump won.         And then I

18   didn't really have anything.         I was happy Trump won, you

19   know?    And then all of a sudden Q drops started.         And it was

20   just -- that's all I did --

21           Q.     Yeah.

22           A.     -- was follow those Q drops.

23           Q.     Got you.

24           A.     I mean I got so much more info in my head, I just

25   can't think of it all to tell you guys right now, you know?

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 1         Q.    It's been a long couple days for you --

 2         A.    (Indiscernible).

 3         Q.    - too.   I understand that, so.       Okay.   What is --

 4   you mention -- so I know you said your Parler handle's Doug

 5   Jensen.    What's your twitter stuff because it seems like

 6   Twitter's a lot of what you predominately use, or --

 7         A.    Facebook is.

 8         Q.    Facebook is.

 9         A.    Yeah.

10         Q.    Okay.    What's your --

11               SA JAMES:     Twitter --

12               BY SA JOHNSON:

13         A.    Well, yeah, Twitter is kind of what I

14   predominately use because everything I post on Facebook I

15   get from Twitter.

16         Q.    Okay.    Okay.

17         A.    So, yeah, Twitter, it's Dajeeper1.

18         Q.    D-a-jeeper, or --

19         A.    Yeah.

20         Q.    -- Djeeper?

21         A.    Yeah, D-a-j-e-e-p-e-r.

22         Q.    Okay.    Dajeeper?

23         A.    I think a one.

24         Q.    Okay.

25         A.    Possibly.

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 1         Q.    All right.     How about TikTok?

 2         A.    TikTok, Doug Jensen.

 3         Q.    Doug Jensen.

 4         A.    And then Facebook Doug Jensen.

 5         Q.    Okay.

 6         A.    But wait.     Well, then I think my Twitter -- my

 7   Twitter's Doug Jensen.       Everything is Doug Jensen,

 8   everything says my name.

 9         Q.    Mm-hmm.

10         A.    But like I have a sign-in is Dajeeper.

11         Q.    Okay.   Okay.    So every --

12         A.    I have my name under everything.

13         Q.    Got you.     Okay.   But like your --

14         A.    On Twitter, too.

15         Q.    -- basically like your vanity name or whatever

16   would be like Dajeeper?

17         A.    Yeah, the --

18         Q.    Okay.

19         A.    -- whatever your sign-in is.

20         Q.    Yeah.

21         A.    Or whatever.

22         Q.    Okay.

23         A.    Yeah.

24         Q.    Okay.   Awesome.     You had kind of mentioned a

25   little bit earlier that, you know, if we wanted to take to a

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 1   look at some of your stuff, like you'd be willing to let us

 2   take a look at some things.

 3           A.   Mm-hmm.

 4           Q.   Okay.   In particular, I mean do you know all the

 5   passwords for your accounts off the top of your head?

 6           A.   Mm-hmm.     I don't even have to have my phone and we

 7   can look at all that stuff right now.

 8           Q.   Okay.   Okay.

 9           A.   If you had an access, I could sign into all of it.

10   I'll give you all of that.

11           Q.   Okay.

12           A.   So.

13           Q.   All right.     We've got some different forms and

14   stuff that we'll probably just have you sign, document like

15   some passwords and stuff like that.

16           A.   Okay.

17           Q.   I don't know if we'll take a look at it right now

18   right here this second.         But we'll probably want to take a

19   look.

20           A.   Okay.

21           Q.   So I'm going to -- I'll get a form drafted up here

22   in a little bit, and just a document that, you know, you're

23   giving us consent to take a look at that and --

24           A.   Okay.

25           Q.   -- look at the account names and everything.        So I

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 1   kind of want to circle back a little bit to the guys and the

 2   backpacks, and the weapons side of this.          So there's

 3   definitely the one that you saw who he broke out the window

 4   with, you know, what we'll just call that a club.

 5         A.    Yeah.

 6         Q.    Throughout the rest of the night, whether it was

 7   either before you guys got to the Capitol or when you guys

 8   were just at the rally, did you see those guys throughout

 9   the night, or was it --

10         A.    Everybody had backpacks.

11         Q.    Everybody.

12         A.    I had a backpack, but I left my backpack.            I took

13   a backpack with food and water, you know, in case chaos

14   broke out, I needed food and water.         You know?    So I had my

15   wife pack my bag with water and a couple cans of pop, some

16   ramen noodles, some pears, you know, just canned good stuff.

17         Q.    Yeah.

18         A.    You know, like an emergency food supply.

19         Q.    Yep.

20         A.    So I kind of just assumed everybody else had

21   waters and stuff, too.

22         Q.    Got you.

23         A.    You know?

24         Q.    Okay.

25         A.    Lots of people had backpacks.

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 1           Q.   Yeah, I know.     But before you saw, at least at the

 2   window when the guy broke out the window, did you ever see

 3   any weapons before then?

 4           A.   Mm-mm.

 5           Q.   After?

 6           A.   I wasn't paying attention.       As you can see, I was

 7   --

 8           Q.   Yeah.

 9           A.   -- looking forward.

10           Q.   Got you.

11           A.   You know?

12           Q.   Okay.

13           A.   I wanted them to go arrest.       You know, I wanted --

14   that's what I wanted.

15           Q.   Got you.

16           A.   And I thought if we -- I thought if we - I don't

17   know.    I had Insurrection Act in my head, you know, I

18   thought we were supposed to do that.

19           Q.   Got you.    And I know we kind of talked about it a

20   little bit earlier, but when we talk about going arresting

21   them, was that the idea that Capitol Police and the other,

22   you know, National Guard folks that were there, is that the

23   idea?

24           A.   That's why I thought they were there.        Yeah.

25           Q.   That they were going to arrest --

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 1         A.    Yeah.

 2         Q.    -- people, you know, in the Capitol.

 3         A.    I thought they were going to go right in there

 4   during the whole thing.      I thought -- I think the whole

 5   thing is illegitimate.      I think the whole Congress is

 6   illegitimate because of all this stuff that I hear.              And

 7   then, you know?     So I don't know.     What do you guys think on

 8   what just happened, you know, with Pence not --

 9         Q.    I think --

10         A.    -- sending that back to get it recertified?

11         Q.    I think I got a lot of research to do.

12         A.    Yeah.

13               SA JAMES:    Oh, yeah.    (Indiscernible) I mean we

14   don't have to -- I mean you could have been anybody.

15               MR. JENSEN:    And I know, why would this guy from a

16   small, you know, little Iowa, why would I know everything,

17   you know, so.

18               SA JOHNSON:    I mean it definitely seems like

19   (indiscernible) about all this.

20               MR. JENSEN:    I hope you don't think I'm being

21   misled though, you know, because I -- that's what disinfo

22   is, you know?

23               SA JOHNSON:    Yeah.

24               MR. JENSEN:    And I know I was supposed to be aware

25   of disinfo.    So that's one thing Q said, you know?         I don't

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 1   know if you guys have looked at Q's posts, but if you just

 2   scroll back to number one and just start going through, you

 3   will see that he said things.        There's like deltas, like

 4   timestamps and stuff that -- like he'll post something on

 5   October 7, 2017, and then you pull it up on October 7th, you

 6   know, two years later and it's like, whoa, was he talking

 7   about today on this day two years ago?         You know?    And then

 8   there's this looking glass theory, like -- I don't quite

 9   understand that looking glass thing.         But like they can see

10   into the future or something.        (Indiscernible).

11         Q.    Okay.

12         A.    Like you can hear the future maybe.         I don't know.

13   It's some really powerful -- I don't understand the whole

14   looking glass.      You know, there -- I kind of stayed away

15   from that just because it seems a little weird.           Kind of

16   like Michelle Obama being a man.        But the things that have

17   true meaning though, like the Hillary Clinton thing, the

18   Bill Clinton, the Jeffrey Epstein -- I believe Jeffrey

19   Epstein -- Lin Wood got me fired up, you know, over the last

20   week because he's kind of -- he was confirming Q, that's all

21   he was doing was --

22         Q.    Yeah.

23         A.    -- confirming Q, so.      I'm not blaming Lin Wood for

24   anything.

25         Q.    Yeah.    No, no.

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 1          A.   He (indiscernible) all fired up.

 2          Q.   Yep.    Okay.    Is there anything else that, in the

 3   lead-up to this incident after, during, is there anything

 4   else, you know, maybe something that we haven't asked you

 5   about that you think is important that we need to know?

 6          A.   I came in through the window.       I came in.       I felt

 7   like I was being told to come on, like I was being led.             And

 8   then I came up here to this room.        And then I walked in this

 9   room, and then that's when all the photographers and stuff.

10   And I yelled my part, you know, that go and arrest them.               I

11   was basically saying, you know, they're the criminals,

12   you're defending them, you know?        And I back you guys.       I

13   back you.    I was telling them all that, you know?         And I

14   said my part.      And then there was a lot of standing around

15   and just hanging out.

16          Q.   Yep.

17          A.   Hell, I took pictures.      They're like hey, get back

18   over here, you know?        Like just kind of stay over here,

19   don't, you know, and so -- but --

20               SA JAMES:       Any regrets about your actions that

21   day?

22               MR. JENSEN:      I don't know.   It depends on if the

23   outcome I wanted happens, then it would have been worth it.

24   But if nothing happens except for negativity from this, and

25   I'm a rioter, then, yeah, I completely regret it because

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 1   that's not the image I was trying -- like when I walked in

 2   this room, I thought I was just yelling at these guys.             I

 3   didn't really pay attention that I'm going to -- you know?

 4   And then he was taking pictures, so I was all proud, you

 5   know, and that Q shirt to be there, you know, for the

 6   pictures.    But I didn't realize that I was going to become a

 7   poster child.     You know what I mean?      How am I the only one

 8   in -- like I'm not the only one in here at this point.

 9               SA JAMES:    Right.

10               MR. JENSEN:    There is a massive crowd down this

11   hallway, and these poor guys were trapped between wherever.

12   And then there's a door right back here.          That's the door

13   that they're like, you know, let's get out of here, let's

14   go, let's go.     And then they led me down this hall, a couple

15   other turns, and next thing I know I'm outside.           So then I

16   start walking around because honestly I thought I was at the

17   White House at first.      I know it sounds stupid.

18               SA JOHNSON:    Yeah.

19               MR. JENSEN:    But when I came up from the east side

20   or whatever, it didn't look like the Capitol from the side I

21   came up on.

22               SA JAMES:    Yeah.

23               MR. JENSEN:    You know?    And I thought the address

24   for the White House was on Pennsylvania Avenue.           Is it?

25               SA JOHNSON:    It is.    1600.

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 1               MR. JENSEN:    Okay.   So that's where I thought I

 2   was at.    I thought I was walking down Pennsylvania Avenue to

 3   the White House.     So I made one of my first videos.           I look

 4   like a complete idiot and I'm glad I didn't post it on

 5   Facebook because I'm like, look, I'm touching the White

 6   House.    And then -- yeah, so when I'm -- I texted my

 7   friends.    I was like -- one of my friends from Iowa was

 8   like, oh, it's all over the news, Pence just certified or

 9   whatever.    And I was just like, no, I don't think so because

10   I'm here now, you know?

11               SA JAMES:    Yeah.

12               MR. JENSEN:    And he's telling me, oh, it's all

13   over the TV.    It's over, you know?       And I'm like, dude, I'm

14   like we just broke the fence down to the White House, you

15   know, because we were at the yard now, I was texting my

16   buddy.    And I didn't text again after that, you know,

17   because then all this stuff happened.

18               SA JOHNSON:    Yeah.

19               MR. JENSEN:    But then once I realized I was at the

20   Capitol and I looked back and his text was like you mean the

21   Capitol, right?     And I was like, oh, (indiscernible).          Yeah.

22               SA JOHNSON:    Got you.

23               MR. JENSEN:    So I wish I could edit my one -- I

24   wish I could touch the White House.         But --

25               SA JOHNSON:    Got you.

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 1               MR. JENSEN:    But basically my pictures at first

 2   that I took is that giant thing, the Washington -- no, what

 3   do you call that thing --

 4               SA JAMES:    Washington Monument.       It's a obelisk.

 5               MR. JENSEN:    Obelisk, thank you.

 6               SA JAMES:    Yeah.

 7               MR. JENSEN:    That's the tall thing, right?

 8               SA JAMES:    Yep, yep.

 9               MR. JENSEN:    And so I do masonry, right?       So what

10   was really cool for me was I seen where the one style of

11   stone ended and then --

12               SA JOHNSON:    (Indiscernible) changed.

13               MR. JENSEN:    And then -- yeah, and then a guy come

14   up, you know, because he saw me taking pictures and he told

15   me, well, that's the point they stopped at the Civil War,

16   and this is a different quarry, you know, and all that.          And

17   so I walked up to that and that was my post on -- I mean the

18   pictures I posted on Facebook, that's from back at the

19   rally.   That's just me, you know, showing my Q for my

20   friends, showing I'm touching the --

21               SA JOHNSON:    Yeah.

22               MR. JENSEN:    -- obelisk or whatever you call it.

23   What do you call it again?

24               SA JAMES:    Obelisk.

25               MR. JENSEN:    Obelisk.

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 1                SA JAMES:   Mm-hmm.

 2                MR. JENSEN:    And so that was another thing that I

 3   came across was was that supposed to be a giant penis?

 4                BY SA JAMES:

 5           Q.   I don't believe -- I think it's an -- it's a

 6   knock-off of like an Egyptian obelisk is I think what they

 7   were going for there.

 8           A.   So -- yeah, because I was like what?        They're

 9   like -- something I read was translated, yeah, they

10   basically built a giant penis.        And I'm like what do you

11   mean?

12           Q.   That's good, yeah.

13           A.   And I think that's him, really do.        It's just his

14   eyes were so much brighter in real life than on that

15   picture.

16                SA JOHNSON:    Yeah.

17                MR. JENSEN:    Bright blue.

18                SA JOHNSON:    Okay.   (Indiscernible) a couple other

19   just quick things off the top of my head.           Do you have

20   weapons or anything like that at home?

21                MR. JENSEN:    No.

22                BY SA JOHNSON:

23           Q.   No.

24           A.   (Indiscernible) --

25           Q.   No firearms, nothing like that.

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 1           A.   -- any firearms.

 2           Q.   Okay.

 3           A.   No.

 4           Q.   Okay.   The pickup that you drive, the truck that

 5   you drive, what kind of truck do you drive?

 6           A.   A GMC Sierra 2500 heavy duty.       It's a 2006.

 7           Q.   Okay.

 8           A.   The truck is pretty much broke down.        I need a new

 9   radiator, so --

10           Q.   Got you.

11           A.   -- I was putting $20 a week in antifreeze in,

12   so --

13           Q.   (Indiscernible).

14           A.   --I started driving my wife's car to work over the

15   last couple weeks.       And then that's -- I would have taken

16   her vehicle anyway because it's better on gas mileage.

17           Q.   Oh, yeah.

18           A.   So.

19           Q.   Got you.    Awesome.   All right.    Well, you got any

20   other questions?

21                SA JAMES:    No.   But like I would just say that,

22   you know, I know early on you said that you've given up a

23   lot and that you've lost a lot.        But like I think that -- I

24   mean what you've done here today, I mean it's never too late

25   to start making good decisions.        And I think you made a good

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 1   one today, you know?          And I do think that like, yeah,

 2   there's some things that are going to have to get sorted

 3   out, and actions do have consequences, but --

 4                  MR. JENSEN:     Am I believing nonsense?

 5                  SA JAMES:     Well, I guess what I'm getting at is

 6   that, you know, try to keep this whole thing in perspective,

 7   right?       Because like you didn't kill anybody.       You didn't --

 8   I mean like this situation --

 9                  MR. JENSEN:     I didn't burn anything.

10                  BY SA JAMES:

11           Q.     Yeah.   And I --

12           A.     I yelled at a guy for touching the cabinet over

13   here.

14           Q.     Exactly, exactly.      So --

15           A.     You know?

16           Q.     -- I guess why I bring it up is because when you

17   walk out of here and you get home, and you get back on your

18   phone, like there's going to be a whole bunch of stuff --

19           A.     I know.

20           Q.     -- to like -- written, and said, and talked about

21   about (indiscernible) and everything.             But like keep this

22   whole thing in perspective.           All right?    Like you're going

23   to come --

24           A.     Keep my mouth shut.

25           Q.     You're going to come out the other end of this

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 1   thing, you know, and like, you know, God knows the way that

 2   it's all going to get adjudicated out, okay?          But like, you

 3   know, you really have done yourself a favor here, and --

 4         A.    Talking to you guys?      (Indiscernible).

 5         Q.    you know what, this --

 6         A.    I got a lot of texts --

 7         Q.    Yeah.

 8         A.    -- from people saying shut your mouth, don't talk.

 9   Like I got to -- be quiet.       But I'm like, look, I'm just

10   going to tell you guys because, you know, I honestly was

11   going with my heart.      I was.

12         Q.    And I believe you.

13         A.    (Indiscernible).

14         Q.    I believe it.     And I believe that you've been

15   truthful with us.      You know, like I really believe that.

16         A.    Right.

17         Q.    So I mean you got a lot of life stressors that are

18   pulling on your right now.       All right?    But, you know, I

19   don't think that anything that's taken place is not

20   recoverable here, or that it's going to be like, you know,

21   forever life-altering, right?        So I mean -- obviously, we

22   don't make promises --

23         A.    What about the media like doing this to me here in

24   town, are they going to stop now, or --

25         Q.    We can't speak for them.       We can't speak for them.

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 1   But I will tell you that like you've --

 2         A.     Because that's what makes me feel unsafe and my

 3   family.

 4         Q.     Right.

 5         A.     You know?     Like there are -- like my wife's like

 6   you should see my Facebook how many people are threatening

 7   and saying mean things, and it's like, oh, God.

 8         Q.     Well, we don't what you or your family to be, you

 9   know, singled out for that type of thing either.           But --

10         A.     I know.     I didn't think that out very clearly --

11         Q.     Yeah.

12         A.     -- either, you know?

13         Q.     But I mean you've been cooperative with us and

14   we'll continue -- we will be cooperative with you, you know?

15   Like we're -- you know, we --

16         A.     I’m not going to go anywhere.        You guys -- you

17   know what I mean?

18         Q.     Yeah.

19         A.     If you want to talk to me again, I will come back.

20         Q.     Okay.

21         A.     So I will sit here and show you on my phone --

22         Q.     Yep.

23         A.     I mean you should see just the stuff I could show

24   that's happened just in the last day or two.           I'm sure

25   there's --

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 1         Q.     I believe you.

 2         A.     Like I'm -- so do I go home and look at that

 3   stuff, or should I quit and take a break?

 4         Q.     I can't tell you -- I mean you're a grown man, you

 5   make your own decisions.       But, you know what, it seems to me

 6   like the most likely result of you going and doing that

 7   would just be more stress and anxiety, and I think you got

 8   enough on your plate.       So I mean you can choose --

 9         A.     I already --

10         Q.     Choose or choose not to.

11         A.     -- (indiscernible).     I think I'm just going to let

12   it go for a while.

13         Q.     It will be --

14         A.     And I'm just going to pray.

15         Q.     Yep, it'll be waiting for you whenever you decide

16   to go back to it.      There's no rush.     But you've been a

17   gentleman with us, so I mean we'll be gentlemen with you

18   obviously.    So.

19         A.     That was him.    That definitely was him.

20         Q.     Okay.

21         A.     I think they all treated me nice because I said

22   God bless you to this guy, I think is what happened --

23         Q.     Okay.

24         A.     -- because they trapped us in a room and was like

25   you're all going to jail.       And then this guy was like in my

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 1   face, and I was just like God bless you, you know?           And next

 2   thing I know they're escorting me out, and nobody else.

 3   Everybody else was still getting arrested, you know?             So.

 4         Q.    Well, I hope you believe us when we tell you that

 5   what we're really after is the truth.

 6         A.    Was I duped by Antifa?      Did I go in with Antifa?

 7   Am I an idiot?

 8         Q.    I don't know enough -- like I don't know about --

 9   I mean there's -- you could fill (indiscernible) with what

10   we don't know about --

11               SA JOHNSON:     What happened.

12         Q.    -- that day.    But for our conversation here today,

13   your actions is really all that we're concerned about.            So I

14   mean obviously there's going to be a lot more

15   investigations, there's going to be a lot other people being

16   talked to by us.     And six months from now, who knows?         Who

17   knows what the conclusions are going to be.

18         A.    These guys had body cams, didn't they?

19         Q.    I don't know.

20         A.    Because everybody's seeing edited stuff here.

21   Like where's the dude waving me up like this way?           You know,

22   where's all that?

23         Q.    Yeah.   I don't know.

24         A.    You know?    It's like, man, they sure got all the

25   good stuff on me, but they don't have any of the real stuff.

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 1   Like this was a five second picture.         You know what I mean?

 2   It didn't look like that the whole time.

 3          Q.   Right.

 4          A.   I was actually coming forward here because of that

 5   smoke --

 6          Q.   Yeah.

 7          A.   -- because they didn't want me to inhale it.

 8          Q.   I believe you.

 9          A.   Yeah.

10               SA JOHNSON:    And it's, you know, it's early with

11   everything that's going to on here.         There's still tons of

12   information that, you know, we have to look at.

13               MR. JENSEN:    I look like a leader though --

14               SA JOHNSON:    Yeah.

15               MR. JENSEN:    -- in that picture.       I see why you

16   asked that.    But really the truth is they threw a smoke bomb

17   down, that's why there's so much distance between me and

18   those people because I was coming to where the fresh air

19   was.

20               SA JOHNSON:    Right.

21               MR. JENSEN:    You know?    So that's funny actually.

22   And like when I started seeing these pictures, too, I'm like

23   smoke, you know, that was that smoke bomb, you know?             And

24   it's like -- in my head I'm like what are -- are they trying

25   to make it look like a war zone right there because there

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 1   was no war zone in this room whatsoever, you know?           We were

 2   communicating and smiling, and these guys were liking it,

 3   you know?

 4                SA JAMES:   Yeah.

 5                MR. JENSEN:   They didn't like the guy with the

 6   megaphone.    And, looking back, I wish I would have been

 7   paying attention because I think they wanted me to be a -- I

 8   don't know if -- that's what I was (indiscernible).

 9                SA JOHNSON:   Yeah.

10                MR. JENSEN:   Like now that I look back on it --

11                SA JOHNSON:   Yeah.

12                MR. JENSEN:   -- they kept doing that to me.        Like

13   look at that guy, look at that guy.         You know?    And then

14   he's like, so what you got for tattoos there?           And I don't

15   know the names.      I didn't know the name of that design, I

16   just know that symbol, but the raccoon tail was blocking it.

17                BY SA JOHNSON:

18         Q.     Yeah.

19         A.     And I swear to God, if I would of seen that on his

20   chest -- and I found out from Twitter or from people

21   messaging me, oh, they were trying to make me out to be some

22   other guy that was an Antifa (indiscernible).           I got that

23   picture, too.

24         Q.     Yeah.

25         A.     Like, yeah, it's just -- it's crazy how fast.           Who

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 1   makes these things so quick?

 2         Q.    Yeah.   (Indiscernible).

 3         A.    You know?

 4               SA JAMES:    Well, I'm glad we're talking to you

 5   today and not to him because I suspect that that

 6   conversation would be less pleasant.

 7               MR. JENSEN:     With that guy?

 8               SA JAMES:    Yeah.

 9               MR. JENSEN:     I wish I could go back.

10               BY SA JAMES:

11         Q.    Yeah.

12         A.    I do.   I do.

13         Q.    (Indiscernible).

14         A.    Because I would of turned around, and that would

15   have been a show, you know?       And what's funny is is if you

16   go to my Facebook, a friend of mine made a showdown, round

17   one, and it's me with my arm -- he took my arms out from

18   that picture where my arms are out, and that other guy with

19   the horns, and it's like one that was a mortal combat type

20   things.

21         Q.    Oh, yeah.

22         A.    Round one, you know?

23         Q.    Yeah, here we go.

24         A.    Because they were accusing me of going in with

25   Antifa, and that dude's Antifa.        And, look, look, here's him

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 1   at Black Lives Matter, and I'm going what?              And then they go

 2   look at the tattoo.         And I look at the picture and I went,

 3   oh, my God because that cop -- and then it all came to me,

 4   you know.

 5                  SA JOHNSON:    Yeah.

 6                  MR. JENSEN:    They were all trying to get my

 7   attention to focus on him, and that would have been a good

 8   news.

 9                  SA JOHNSON:    Yeah.

10                  MR. JENSEN:    You know?    Well, I mean that would

11   have been good.         That'd a been a good picture because I

12   would been looking at the cops and looking all, you know,

13   and --

14                  BY SA JOHNSON:

15           Q.     Yep.

16           A.     And I have a serious face, but I'm not, you know,

17   when I'm mad, I'm mad.         This is my mad face, you know?

18           Q.     Sure.

19           A.     And I'm kind of big, so I'm intimidating.         But

20   really, I'm a nice guy.

21           Q.     Right.

22                  SA JAMES:    Yeah.

23           A.     I really am.    You know, I'm not racist.       I help

24   people, you know?         And I think that comes from what happened

25   to me.       I've always tried to fix everybody else's problem.

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 1           Q.   Yeah.

 2           A.   You know, because it makes me feel better I guess

 3   is the best way to put it.

 4                SA JAMES:   We'll certainly be in touch.       But it

 5   does take time for the wheels to grind, so don't feel like

 6   we're giving you the silent treatment if things, you know,

 7   take a little while before, you know, the next steps.

 8                MR. JENSEN:   Well, what I'm hoping is this all

 9   disappears in the next 10 days because -- you know what I

10   mean?

11                SA JAMES:   We'll have to wait and see.

12                MR. JENSEN:   I know.

13                SA JAMES:   We'll have to wait and see.

14                MR. JENSEN:   Like, seriously, can you guys just

15   let me in on that if you know?        Like are these arrests real,

16   or am I just completely following a whole shit thing.

17                SA JOHNSON:   I have no idea (indiscernible).

18                MR. JENSEN:   Because I completely believe this

19   with my heart, and it'd be the biggest let down for me, you

20   know?

21                SA JOHNSON:   Yeah.

22                (Special Agent James leaves the room.)

23                SA JOHNSON:   I just don't -- I couldn't tell you.

24   It's, you know, there's definitely, you know, a lot of

25   information, a lot of different things that, you know,

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 1   you've talked about today that I know we're going to go back

 2   pick -- start looking at a lot of different things and

 3   really understand (indiscernible) full picture --

 4               MR. JENSEN:    (Indiscernible) it's --

 5               SA JOHNSON:    -- that you're talking about.

 6               MR. JENSEN:    Yeah.   Eden, three days, three

 7   nights.

 8               BY SA JOHNSON:

 9         Q.    Yeah.

10         A.    Put some stars by that.      That's my main --

11         Q.    That's the main one you follow?         Okay.

12         A.    Because he posts all the time?

13               (Special Agent James enters the room.)

14               SA JAMES:    Do you need another cigarette?

15               MR. JENSEN:    Sure.

16               SA JAMES:    Okay.

17               SA JOHNSON:    Yeah.

18               SA JAMES:    Yeah.

19               SA JOHNSON:    Let's do that and then -- because I

20   got some other things that -

21               SA JAMES:    Okay.

22               SA JOHNSON:    -- I want to draft it up real quick,

23   and then --

24               SA JAMES:    Yeah.   I'll tell you what, let me --

25   yeah, so -- yeah, for the purposes of recording, the time is

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 1   --

 2               SA JOHNSON:    It's just after noon.

 3               SA JAMES:    -- just after noon, we're taking our

 4   second break, and we will back.        We're going to give --

 5   we're going to give Mr. Jensen an opportunity to smoke

 6   again.   All right, hold on, just (indiscernible).

 7               (Special Agent James leaves the room.)

 8               SA JOHNSON:    You need another water or anything?

 9   You good?

10               MR. JENSEN:    I'm good.

11               SA JOHNSON:    Okay.

12               MR. JENSEN:    (Indiscernible).

13               SA JOHNSON:    (Indiscernible).

14               (Special Agent Johnson leaves the room.)

15               MR. JENSEN:    That was definitely him.

16               SA JOHNSON:    That was him?

17               MR. JENSEN:    Yeah.

18               (Special Agent Johnson enters the room.)

19               MR. JENSEN:    It just hard to recognize him because

20   he didn’t have a hat on and his eyes look like a dark blue.

21               SA JOHNSON:    Yeah.

22               MR. JENSEN:    This guy's eyes were bright, you

23   know?    So that's why at first I'm like, no, that -- but

24   that's his face.

25               SA JOHNSON:    (Indiscernible).

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 1               MR. JENSEN:    I'm pretty sure.     I'm sure you can

 2   find a picture of that somewhere, can't you?

 3               SA JOHNSON:    Probably, yeah.     There's been --

 4               MR. JENSEN:    (Indiscernible).

 5               SA JOHNSON:    There's so much information floating

 6   around with all this stuff --

 7               MR. JENSEN:    (Indiscernible).

 8               SA JOHNSON:    It's a lot to take in, you know, but

 9   you know, Scott's talked about the (indiscernible) to speak

10   with you, so I'm going to pop in over real quick and then

11   we'll get these guys (indiscernible).

12               MR. JENSEN:    Okay.   Thanks.

13               (Special Agent Johnson leaves the room.)

14               (Silence)

15               UNIDENTIFIED MALE:     You ready (indiscernible)?

16               MR. JENSEN:    Yeah, take a smoke.      Thank you.

17               (Mr. Jensen leaves the room.)

18               (Silence)

19               (Background conversation)

20               (Mr. Jensen enters the room.)

21               (Background conversation)

22               UNIDENTIFIED MALE:     You need anything else,

23   brother, or --

24               MR. JENSEN:    (Indiscernible).     No.

25               UNIDENTIFIED MALE:     Okay.    I don't know what

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 1   they've got going.

 2               MR. JENSEN:    I'm going to sign some papers.

 3               UNIDENTIFIED MALE:     Oh, okay.    They're probably

 4   finishing that up then.

 5               MR. JENSEN:    Okay.

 6               UNIDENTIFIED MALE:     And then we'll --

 7               MR. JENSEN:    That's (indiscernible).

 8               UNIDENTIFIED MALE:     -- work on getting you out of

 9   here, okay?

10               MR. JENSEN:    That sucks.

11               (Silence)

12               (Special Agent James and Special Agent Johnson

13   enter the room.)

14               SA JAMES:    Okay.    All right.   For the purposes of

15   the recording, the time is approximately 12:28.           We're

16   resuming, and we're actually just going to be putting the

17   bow on things and wrapping things up here.

18               SA JOHNSON:    All right.    So this right here, this

19   is going to be, like we talked about earlier, hopefully --

20   going to want to take a look at the phone, your accounts and

21   stuff like that that you got.        There's some questions that I

22   have as to, you know, the actual phone itself.           Off the top

23   of your head, what kind of phone do you have?           Is it iPhone?

24               MR. JENSEN:    Ten.

25               SA JOHNSON:    iPhone 10?

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 1               MR. JENSEN:      Or X.

 2               BY SA JOHNSON:

 3         Q.    Okay.

 4         A.    iPhone 10.

 5         Q.    Okay.   So iPhone 10.

 6         A.    Or X.   I don't know if -- it's X on -- it's an X,

 7   I just call it the 10.

 8         Q.    Roman Numeral 10, yeah.

 9         A.    Yeah.   Okay.

10         Q.    (Indiscernible).

11         A.    That's a better a way to put, huh?

12   (Indiscernible).

13         Q.    And what's the number on that phone again?

14         A.    Oh,          .

15         Q.       .

16         A.

17         Q.

18         A.    So can I still keep my phone or do you guys need

19   my phone?

20         Q.    We would like to -- so what we're going to -- what

21   we would like to be able to do --

22         A.    Is hook up and take everything off of it and give

23   it back to me, or --

24         Q.    Yeah.

25         A.    Okay.

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 1         Q.    Essentially that's our --

 2         A.    Okay.

 3         Q.    -- our plan is we'd like to be able to take it,

 4   basically --

 5         A.    And am I going to lose my pictures that I took --

 6         Q.    No.

 7         A.    -- from the White House -- or the Capitol?

 8         Q.    It will all still be on it.        Yeah.

 9         A.    (Indiscernible).

10         Q.    Everything will still be on there.

11         A.    Okay.

12         Q.    Yep, we're not going to delete anything.

13         A.    (Indiscernible).

14         Q.    Remove anything.       We're literally just going to --

15   we'll grab it for a little bit, we'll get it back to you as

16   soon as we possibly can.

17         A.    Okay.

18         Q.    And, you know, we'll go from there, so.

19         A.    Okay.

20         Q.    Where -- the phone is located at right now you

21   said at your residence?

22         A.    Yeah.

23         Q.    Okay.     What's the address again?

24         A.                       .

25         Q.          .

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 1         A.                .

 2         Q.               ?

 3         A.    Yeah,           .

 4         Q.    Lane.   And that's Des Moines, Iowa?

 5         A.    Yep.

 6         Q.    All right.      And then do you have a passcode on

 7   your phone or anything like that?

 8         A.        .

 9         Q.        .

10         A.    Yep, my son's birthday.

11         Q.    Okay.

12         A.    He was born                   .

13         Q.    Got you.

14               SA JAMES:       That's the solstice right?

15               MR. JENSEN:         Mm-hmm.   And one of the things that I

16   was in to before Q was UFOs, and 12/21/2012 was going to be

17   the end of the years, you know, some of that stuff.

18               SA JAMES:       Got you.

19               SA JOHNSON:         Okay.   So what I just need you to do,

20   I want you to print your name here.

21               MR. JENSEN:         Okay.

22               SA JOHNSON:         So that's you saying I, Douglas, give

23   consent for us to grab that phone and do a search of it.

24               MR. JENSEN:         Okay.

25               BY SA JOHNSON:

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 1         Q.     And then down here, sign on this one.        And if you

 2   want to review all this, basically, it's just saying this

 3   is, you know, the iPhone X with your phone number.           This is

 4   where it's located, this is the passcode --

 5         A.     That's fine.

 6         Q.     -- for us to be able to get into it.

 7         A.     That's fine.

 8         Q.     Okay.   Awesome.       And we will get these signed as

 9   well, and if you want to date it as well, too.

10         A.     The 8th?

11         Q.     Yep.    '21.

12         A.     Yeah, I almost did that.

13         Q.     (Indiscernible).       All right.   So that's that

14   piece.     So what we want to do, I know you said you walked

15   here, so we don't you to have to walk home, so we're going

16   to coordinate, have you take us back over to the house.

17   We'll take care of the ride and everything like that.

18         A.     Okay.

19         Q.     And then when we get over there, we'll, you know,

20   we'll take a look at the phone and --

21                SA JAMES:      Yeah.    And then we can get that thing

22   back here, get it copied, and get it back to you.

23                MR. JENSEN:     Yeah, that'd be great.     Awesome.

24                SA JOHNSON:     All right.

25                MR. JENSEN:     Does it matter that I deleted

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 1   Facebook and all that, or will you guys still be able to --

 2                  SA JOHNSON:   Yeah.   Shouldn't be a problem.

 3                  MR. JENSEN:   You don't have my passwords, or do

 4   you need them?

 5                  BY SA JOHNSON:

 6         Q.       For the rest of the accounts.

 7         A.       Pretty much all my accounts are the same.         It's

 8   dajeeper1.

 9         Q.       Okay.

10         A.       And I use             .   And then it's always

11              .

12         Q.       Okay.   We'll --

13         A.       If you need that or --

14                  SA JAMES:    Yeah, just put it on your notes.

15                  SA JOHNSON:   Yeah.   We can note it for now.       You

16   know, we'll get it noted.

17                  MR. JENSEN:   Okay.

18                  SA JOHNSON:   What was that again?

19                  MR. JENSEN:   Dajeeper1.

20                  BY SA JOHNSON:

21         Q.       Yeah.

22         A.       And if they ask for the email or whatever, it's

23   @gmail.com.

24         Q.       Dajeeper1@

25         A.       Yeah.

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 1         Q.     Okay.

 2         A.     And then if it’s not @                 because I have two

 3   different emails because one got hacked and -- or not

 4   hacked, but all of a sudden I got spam --

 5                SA JAMES:    Like crazy.

 6         A.     Yeah.   So if it’s not the dajeeper1@           , it's

 7   dajeeper1@

 8         Q.     Dajeeper1@ --

 9         A.

10         Q.

11         A.

12         Q.

13         A.     Dot com.

14         Q.     Dot com.    Okay.

15         A.     All my passwords are               .

16         Q.     Okay.   Capital     or all lower case?

17         A.     Yeah, Capital

18         Q.     Okay.

19         A.     (Indiscernible) the full access to everything

20   right there.

21         Q.     Okay.   All righty.

22                SA JAMES:    Well, should we head that way?

23                SA JOHNSON:     Let's do it.

24                MR. JENSEN:     Yeah.

25                SA JOHNSON:     (Indiscernible).

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 1               MR. JENSEN:    So did he resign because he felt like

 2   he failed, or was he forced to resign?

 3               SA JAMES:    I suspect that somebody asked for his

 4   resignation.    Yes.

 5               (Special Agent Johnson and Mr. Jensen leave the

 6   room.)

 7               SA JAMES:    Actually, this is Special Agent Scott

 8   James.   Today is January 8th, 2021.        The time is

 9   approximately 12:35.      The previous was a voluntary, non-

10   custodial interview with Doug Jensen.         Nothing follows.

11   Okay.

12               (Special agent James leaves the room.)

13               MR. JENSEN:    Can I take that with me, or --

14               SA JAMES:    Oh, sure.

15               SA JOHNSON:    Yeah.   We'll --

16               SA JAMES:    Yeah.

17               SA JOHNSON:    I'll grab the knife for you just

18   right now, and then I'll -- (indiscernible).

19               (Background conversation)

20               (End of recording.)

21

22

23

24

25

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 1                          C E R T I F I C A T E

 2               I, Lois D. Rush, Destini Arnold, and Jami McNear,

 3   certify that the foregoing is a true and correct transcript,

 4   to the best of my ability, of the above pages, of the FBI

 5   INTERVIEW provided to me by the U.S. Attorney's Office,

 6   Washington, D.C.

 7               I further certify that I am neither counsel for,

 8   related to, nor employed by any of the parties to the action

 9   in which this recording was taken, and further that I am not

10   financially nor otherwise interested in the outcome of the

11   action.

12
     April 1, 2022                     _ _
13   Date                              LOIS D. RUSH
                                       Transcriber
14

15   April 1, 2022                     _                         _
     Date                              DESTINI ARNOLD
16                                     Transcriber

17

18   April 1, 2022                                       _________
     Date                              JAMI MCNEAR
19                                     Transcriber

20

21             Within this transcript of proceedings, some of the

22   names and/or technical terms are spelled phonetically,

23   inasmuch as exhibits, files and supporting documentation

24   were not made available to us for reference.

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